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UNITED STATES BANKJ.{U`PTCY C()URT

DISTRICT OF DELAWARE
In rex Chapter 11
BSCV, Ioc. (f/kfa Boscov's, Inc.), Join£ly Administered

a Pennsy§vania C€)rporation, §§ hawl_.',
])ei)tors.

BSCV Investment Company {f/k/a Boscov‘s
Investment Company)

BSCV Finance Cempany, Inc. {f/k/a Boscov‘s
Finance Company, Inc.)

BSCV Department Store, LLC (f/R/a Boscov's
I)epartment S£ore, LLC)

BSCV Transportation Company LLC (f/kfa Boscov‘s
Transpertation Company LLC)

BSCV PSI fhc. (f/k/a Boscov's PSI Inc.)
BSCV II, I!ic. (ka/a SI)S. Inc.)

Retail Const:'uction & Dcvelopmen£, Inc.

Case No. 08~11637 (KG)

08~1 1635 {KG)

98-1 1 636 (KG)

08-11638 (KG}

08-11639 (KG)

98~11640 (KG)
08"1164; (KG)

08-11642 (Kc}

 

AMENDED I)ISCLOSURE STATEMEN'I`
PURSUANT 'I`O SEC'I`ION 1125 OF THE
BANKRUPTCY CODE OF JOINT PLAN OF
BSCV, INC. (F/K/A BOSC()V'S, INC.) ANI) lTS
DEB'I`OR AFFILIATES

 

THIS IS NO'I` A SOLICITAT!ON OF
ACCEPTANCES OR R.`EJECTIONS OF THE
PLAN. ACCEP'I`ANCES OR REJ'ECTIONS MAY
NO'I` BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE
BANKRUPTCY COURT AS CONTAINING
ADEQUATE INFORMATION WITHIN THE
MEAN}NG OF SECTION 1125 OF 'I`HE
BANKRUP'I`CY CODE. THIS DISCLOSURE
STATEMEN'I` IS BEING SUBMITTED FOR
APPROVAL BUT HAS NOT BEEN APPROVED
BY THE BANKRUPTCY COUR'I`. CERTAIN
EVEN'I`S, TRANSACTIONS AND O'I`HER
MATTERS DISCUSSED IN 'I`HIS DISCLOSURE
STATEMENT HAVE NOT YET OCCURRED OR
REMAIN SUBJECT ’I`O BANKRUP'I`CY COURT
APPROVAL

CHF-1695199v1

 

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March 16, 2699

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DISCLOSURE STATEMENT, DATEI) FEBRUARY 6, 2909
SOLICI'I`ATION OF VOTES WI'I`H RESPECT TO THE
J()IN'I` PLAN OF BSCV, INC. (F/K/A BOSCOV'S, lNC.)l

AN]) I'I`S DEBTOR AFFILIATES

The Boards ofDirectors and Managenient of each of the Debtors believe that the ioint Plan of BSCV, lnc.
(Hl<!a Boscov’s, Inc.) audits Debtor Afiiliates, dated February 6, 2009 and attached as Exhibit I (the "Pl~_;__an") is in the
best interests of creditors Ail creditors entitled to vote thereon are urged to vote in favor of the Plan. Detailed
voting instructions are set forth below, and contained on the Ballots distributed to creditors entitled to vote on the
Plan. ".l`o be counted, your Ballot must be duly completed, executed and received by 5 200 p.m., Pacific time (8:00
p.in., Eastern time), on l |, 2009 (the "Voting Deadline"), unless otherwise extended by the Debtors.

lite Official Cornmittee of Unsecured Creditors (the "Creditors' Comrnittee") has independently concluded
that the Plan is in the best interests of creditors and urges creditors to vote in favor of the Plan. letters in support of
the Plan from the Debtors and the Creditors' Cornrnittee are included with this Disclosure Statenient.

As discussed below, the effectiveness of the proposed Plan is subject to material conditions precedent,
some of which may not be satisfied

No person is authorized by any of the Debtors in connection With the Pian or the solicitation of acceptances
of the Plan to give any information or to make any representation, other than as contained in this Disclosure
Statenient and the exhibits attached hereto or incorporated by reference or referred to herein, and, if given or made,
such information or representation may not be relied upon as having been authorized by any of the Debtors.
Although tire Debtors will make available to creditors entitled to vote on acceptance of the Pian such additional
information as may be required by applicable law prior to the Voting Deadiine, the delivery of this Disciosure
Staternent will not under any circumstances imply that the information herein is correct as of any time after the date
hereof

By an order of the Bankruptcy Court dated March {_], 2009, this Disclosure Stateruent has been
approved as containing "adequate ioforxnation" for creditors and equity security hoiders of the Debtors in
accordance with section 1125 of the Baukruptcy Code. The Ban§rruptcy Code defines "adequate
information" as "informatiou of a kind, and in sufficient detai§, as far as is reasonably practicable in light of
the nature and the history of the debtor and the condition of the debtor's books and records . . . that would
enable . . . a hypothetical investor {typical of the holders of ciaims or interests in the case] of the relevant class
to make an informed judgment about the plan, but adequate information need not include such information
about any other possible or proposed plan . . . ." lt U.S.C. § 1125(a)(1}.

Ail creditors are encouraged to read and carefully consider this entire Disclosure Staternent, including the
Plan attached as Exhibit land the Risk Factors described in Article Vil hereof prior to submitting Ballots in
response to this solicitation

The summaries of the Plan and other documents contained in this Disclosure Statement are qualified in
their entirety by reference to the Plan itseii`, the exhibits thereto and documents described therein as being filed
before approval of the Disclosure Staternent. The l)ebtors will file ali exhibits to the Pian with the Banlouptcy
Court and make them available for review on the l)ocurneut Website twww.lrccllc.net/boscov) no later than ten
days before the Voting Deadline.

The information contained in this Disclosure Staternent, including the information regarding the history,
businesses and operations of the Debtors and other information regarding the Debtors, is included for purposes of

 

Pursuant to paragraph 35 of the order dated Noveniber 21, 2008 approving the sale of substantialiy all of
the Debtors' assets, the Debtors were authorized by the Court to change their corporate names and the
caption of their Bankruptcy Cases upon notice to all parties in interestl On Decernber 12, 2008, the Debtors
filed with the Court their notice of change of corporate names and case caption and served such notice on
all parties in interest in these Banlcruptcy Cases.

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soliciting acceptances of the Plan, but, as to contested matters and adversary proceedings, is not to be construed as
admissions or stipt.ilations2 but rather as statements made in settlement negotiations

FORWARD~LOOKING STATEMENTS

This Disclosure Statement contains forward~looking statements based primarily on the current expectations
of the Debtors and projections about future events and financial trends affecting the financial condition of the
Debtors' businesses 'fhe words "believe," "may," "estirnate," "continue," "anticipate," “inten ,“ "expect" and
similar expressions identify these forward-looking statements These forward~looking statements are subject to a
number of risks, uncertainties and assumptions, including those described below under the caption "Risk Factors" in
Article VII hereof ln light of these risks and uncertainties, the forward»looking events and circumstances discussed
in this Disciosure Statement may not occur, and actual results could differ materially from those anticipated in the
forward looking statements "I'he Debtors do not undertake any obligation to update or revise publicly any forward

looking statements, whether as a result of new information, future events or otherwise

This Disclosure Statement has not been approved or disapproved by the United States Securities and
Exchange Coinrnissiori {the “_S_B§"), any state securities commission or any securities exchange or association nor
has the SEC, any state securities commission or any securities exchange or association passed upon the accuracy or
adequacy of the statements contained herein

All capitalized terms used in this Disclosure Staternent and riot otherwise defined herein shall have the
meanings given to them in the Plan.

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EXHIBIT If S¢)licitation Order

EXHIBIT lIl Chapter 7 Liquidation Analysis

 

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l. PRELIMINARY STATEMENT

Prior to the filing of the Bankruptcy Cases, the Debtors owned and operated the nation's largest family
owned, full-service department store chain in the United States. At its peak, the Debtors' retail footprint
encompassed 49 department stores located in the Mid-Atlantic region, serving, in most instances, middle-sized
markets in Pennsylvania, New Jersey, Maryland, New Yorl< and Deiaware. l)espite the Debtors' strong presence in
many of their former operating iocations, in the summer of 2008 the Debtors were besieged by a myriad of factors
that collectively created insurmountable liquidity constrictions that resulted in the filing of the Bankruptcy Cases.

First, many of the communities in which the Debtors formerly operated were grappling with a collapse in
the housing market and the general downturn in the economy, which led to dramatic declines in discretionary
spending Second, the Debtors were facing increasingly strained credit markets, which greatly impacted the
Debtors' cash position, and significantly hampered the Debtors' ability to finance the acquisition of inventory and
merchandise Third, the i)ebtors' liquidity woes caused many of their trade vendors to tighten credit terms, require
cash on deiivery, or, in some cases, require cash in advance, which further eroded their precarious cash position and
impaired their ability to stock adequate merchandise to meet traditional customer demands As a consequence of
these liquidity pressures, on August 4, 2008, the l)ebtors filed their petitions for relief under chapter l l of the
Banlo:uptcy Code in the United States Bankruptcy Court for the District of Delaware.

 

At the inception of the Banlo'uptcy Cases, in an effort to imrnediiiteiy reduce operating expenses and to
boost their liquidity, the chtors immediately sought and obtained Bankruptcy Court approval to close 10 under-
perl:`orrning retail locations that proved to be a considerable cash drain on the Debtors' operations 'l`his downsizing,
which was completed in Inid-October 2008, successfully reduced the Debtors‘ expenses and overall cost structure,
and significantly increased the Debtors' liquidity. Nevertheless, despite these positive results, the Debtors‘
businesses continued to require additional equity capital in order to achieve long-term viability. lndeed, the
downward trends in the retail sector generally, as well as the constrictions in the capital markets, greatly limited the
Debtors' ability to acquire goods in anticipation of the coming holiday season

In the summer of 2008, at the direction of the Debtors, their investment banker, Barclays Capital, Inc, (f/k/a
Lehrnan Brothers, inc.) ("Barclays"), commenced a comprehensive process to find a buyer or investor as part of the
l)ebtors' long~term chapter 11 strategy Relativeiy early in the process, it became clear to the l)ebtors that any sale
transaction or equity infusion likely would have to occur prior to the upcoming holiday season so that any potential
buyer or investor couid benefit from the Debtors' most lucrative sales season of the year. Accordingly, the Debtors
moved with great urgency to explore a going concern sale transaction

On Septeinber 30, 2008, the Debtors executed an asset purchase agreement {the "Regio AP ") with Regio
BDS, LLC ("Regio“), which contemplated the sale of substantially all of the Debtors' assets as a going concern
Regio was a newly created affiliate of Versa Capital Management, lnc. ("Versa"). In early October 2008, the
Bankru`ptcy Court approved an expedited sale process in connection with the Regio APA, which contemplated a
bidding deadline of October 15, 2008 for any competing qualified bids, an auction, if necessary, on October 20,
2008, and a sale hearing to commence on October 2], 2008.

 

On October 15, 2008 -- the sale bidding deadline -- the Debtors received only one other bid, from BLF
Acquisition, lnc. ("§L"]::"), an entity owned by former management and shareholders of the Debtors led by Albert
Boscov, the Debtors’ previous chairman and chief executive ofticer. October 15, 2008 was also the deadline set
forth in the Regio APA for Regio to provide the Debtors with documentation demonstrating that Regio had the
requisite financing and equity commitments to close its purchase of the Debtors within the timeframe set forth in the
Regio APA. As of Gctober 15, 2008, the documentation submitted by Regio did not, in the Debtors* view,
demonstrate that Regio had the requisite financing to close the transaction and at that tiine, Regio proposed to the
Debtors that the closing of any sale be deferred until lanuary 7, 2009.

Frorn the Debtors‘ perspective, a January 2009 closing presented several risks, including running afoul of
their commitments to the Debtors' post-petition lenders, who had insisted that any sale close prior to December
2008. Nevertheless, the Debtors and Regio agreed to extend many of the sale-related deadlines, including certain
termination rights, in an effort to secure a deal. At the same time, the Debtors continued negotiations with BLF
regarding a potential sale transaction As negotiations between the Debtors and their potential suitors progressed it
become increasingly clear to the Debtors, the Creditors' Committee and the Debtors' lenders that a sale transaction

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with BLF would have several advantages over a transaction with Regio, not the least of which was that BLF could
finance a transaction to close on the timei:rarne required by the Debtors' lenders Consequently, on October 31,
2008, following a meeting of a special committee of the Debtors' board of directors and with the consent of the
Creditors' Committee, the Debtors terminated the Regio APA pursuant to section 4.4(e).

On November 3, 2008, with the support of the Creditors' Comrnittee, the Debtors executed that certain
Asset Purchase Agreernent by and among Boscov‘s, lnc. and its Subsidiaries and BLF Acquisition, lnc. dated as of
Novernber 3, 2008 (the “BLF APA") for the sale of substantially all of the Debtors' assets to BLF. On November
Zl, 2008, the Bani<ruptcy Court approved a sale of the Debtors‘ assets free and clear of all liens and encumbrances to
BLF, as well as the assumption and assignment to BLF of many of the Debtors‘ contracts and leases On Decernber
4, 2008, the l)ebtors closed the sale with BLF. As noted below, the proceeds of the sale have been used to pay down
the Debtors' secured creditors The remainder of the sale proceeds will be used to fund distributions under the Pla;n
and to pay bankruptcy administrative costs

The consideration paid by BLF under the Bl.,F APA consisted of the following:

o All outstanding amounts owing under the Debtors' tirst lien debtor in possession revolving
loan facility, dated August 5, 2008, among the l)ebtors, Bank of America, as agent, and a
syndicate of lenders (the “Dll`-‘ Lenders“);

 

¢ All outstanding amounts owing {including any prepayment fees, make~whole payments or
similar amounts) under the Debtors' pre~petition second lien credit agreement, dated March
20, 2008, among the Debtors, GB Merchant Partners LLC (as successor to Bearn Stearns
Corporate Lending, Inc.), as administrative agent and collateral agent, and the lenders party

thereto;
- Casli totaling $3 million, subject to possible adjustment upward under the BLF APA; and
¢ i`he assumption of various liabilities

Additionaiiy, as part of the consideration under the BLF APA, BLF was required to pay (i) the claims of
certain holders of administrative expense claims arising under section 503(b){9) of the Banlcruptcy Code (the
" 031£31§9! Claims"), (ii) the administrative expense claims of Estate professionals (the "Administrative l’rofessional
Claiins") for fees accrued but not yet paid prior to the closing of the sale, up to a cap, (iii) the amounts necessary to
cure all monetary defaults under the contracts and leases purchased under the BLF APA, and (iv) certain other
amounts BLF's obligation to pay the 503(b)(9) Clairns was capped at $l 0 million Any 503(b)(9) Clairns in excess
of the $10 million cap are the responsibility of the Debtors' Estate. Upon the approval of the BLF APA, BLF paid to
the Debtors approximately $'7.9 million of the $l(} million available to satisfy 503(b)(9) Claims. 'l`o the extent the
503(b)(9) Claims exceed the 337.9 million already paid by BLF, BLF will be required to pay such additional
503(b)(9) Clairns up to $10 million, at which time the Debtors will be responsible for any additional 503(b)(9)
Claims. 'l`o the extent that the 503(b)(9) Clairns are less than $7.9 million in the aggregate, the Debtors are required
to return the remainder to BLF. BLF's obligations to pay Adrninistrative Professional Clai:rns is capped at $8
million in respect of contract and lease cure claims, BLF has paid to the Estate approximately 330.9 million, and in
respect of Adzninistrative Professional Clairns, the Debtors received $5,547,342 at the closing of the sale horn BLF.

in connection with the sale, the Creditors' Committee also settled potential claims of the Debtors' Estates
against certain current and former shareholders (the "Shareholders") of the Debtors (tiie "Shareholder Settlement"),
Certain of these Shareholders are affiliated with BLF. 'I`he Shareholder Settlement, which is outlined in greater
detail below, was an integral part of the sale, and was necessary to procure the Creditors' Cornmittee's support for
the sale. i`he Shareholder Settlernent consists, in general tenns, of releases of liability among the parties in
exchange for an $8 million cash payment from the Sharehoiders to the Estates on the closing of the BLF sale, and
execution of a $4 million note by BLF (the "Purchaser Note“) payable in annual installments on the l20tli day after
the end of BLF's fiscal year beginning with the fiscal year ending January 31, 2010 and ending on (and including)
the fiscal year ending January 31, 2014, subject to certain conditions set forth in the Purchaser Note, including
certain performance goals of BLF. The Shareholder Settiernent was approved by the Bankruptcy Court in
connection with the sale on Novernber 21, 2008.

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Since the cl.osing, BLF has continued to operate the Boscov's retail chain as a going concern, in much the
same fashion as it was operated by the Debtors prior to the Petition Date. The preservation of the Boscov's retail
chain as a going concern has preserved thousands of jobs and maintained hundreds of vendor relationships in the
Debtors' former operating locations In light of the current capital market conditions, and the state of the retail
industry generally, the going concern sale effectuated in the Banicruptcy Cases was a tremendous result for the
Debtors, their estates, creditors and other parties in interest

The purpose of the Plan is to bring the Banl<ruptcy Cases to a close by settling the remaining outstanding
claims against the Estates with distributions from proceeds received by the Debtors‘ Estates as part of the Bi.F sale
transaction, including the proceeds received by the Debtors on account of the Shareholder Settlernent, as weil as the
proceeds of certain tax refunds and the Purchaser Note. A general discussion of the Pian's terms, its treatment of
creditors and other relevant information follows below.

rr. overwan or run PLAN2
A. Introduction

The confirmation of a plan of reorganization or iiquidation, which is the vehicle for satisfying the rights of
hoiders of claims against and equity interests in a debtor, is the overriding purpose of a chapter ll case A plan may
provide anything from a complex restructuring of a debtor's business and its related obligations to a simple
liquidation of assets ln either event, upon confirmation of the plan, it becomes binding on the debtor and all of its
creditors and stakeholders, and the obligations owed by the debtor to those parties are compromised and exchanged
for the obiigations specified in the plan.

in these Banl<ruptcy Cases, the Plan contemplates a liquidation of each of the Debtors and is therefore
referred to as a "plan of liquidation." The primary objectives of the Plan are to: (a) maximize the value of the
ultimate recoveries to all creditor groups on a fair and equitable basis; and (b) settle, compromise or otherwise
dispose of certain claims and interests on terms that the Debtors believe to be fair and reasonable and in the best
interests of the Debtors` respective Estatcs and creditors As noted, the De`otors have liquidated substantially aii of
their assets. As such, the Debtors' assets consist almost exclusively of cash and the right to receive future cash t`rorn,
among other things, tax refunds and the Purchaser Note. The Plan essentially provides for the distribution of such
cash, after the payment of expenses of the Estates, to the holders of Aiiowed Clairns in accordance with the priorities
estabiished by the Banlcruptcy Code. The Plan also provides for, among other things: (i) the resolution of all claims
against each of the Debtors in the manner set forth below, and in the Plan; (ii) the rejection of ali unexpired
Executory Contracts and Unexpired Leases to which any i)ebtor is a party that are not included on Exhibit Iil to the
Pian or that have not been assigned to BLF as part of the sale, or otherwise previously assumed, assumed and
assigned, or rejected by the Debtors, (iii) certain other transactions necessary to effectuate the terms of the i’lan; and
(iv) the ultimate dissolution of the Debtors.

Distributions to creditors under the Plan will be rnade from the Debtors’ excess cash remaining in the Estate
after payment of the Newco Expenses, which include the administrative costs and expenses of winding down the
Debtors‘ Estates. As of the date hereof, the Debtors estimate having between 510 miiiion and $13 million avaiiable
to fund payments to General Unsecured Creditors in Ciass 4 under the Plan. in addition, the Debtors anticipate that
they will receive tax refunds totaling $7.0 miliion duringr calendar year 2009, although there is no assurance that the
Debtors wiil receive tax refunds in this amount or any amount Substantially ail of the tax refunds would arise li'orn
the carryback of an expected net operating loss for the I)ebtors' tax year ending January 31, 2009 to the Debtors' tax
year ended lanuary 31, 2007. If the Debtors receive the tax refund as expected the Debtors anticipate being able to
distribute between approximately Si'i million and $20.1 million on account of Allowed Clairns in Class 4 under the
Plan after payment of the Newco Expenses. It is important to note, however, that the foregoing estimates may
be subject to significant change, as set forth in Article VII hereof.

 

2 The overview of the Plan set forth herein is designed to simply provide a summary of the Pian's terrns. To the

extent that anything set forth in this Disclosure Staternent is inconsistent with the terms of the Plan, the Plan
wiii govern

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At the Continnation Hearing, the Banl<ruptcy Court will confirm the Plan only if ali of the applicable
requirements of section l 129 of the Banlcruptcy Code are met. Among the requirements for continuation of a plan
of liquidation are that the plan: (i) is accepted by the requisite holders of claims and interests in impaired classes of
the debtor; (ii) is in the "best interests" of each holder of a ciairn or interest in each impaired class under the plan for
the debtor; and (iii} complies with the applicable provisions of the Bankruptcy Code. in this instance, only holders
ofAllowed Clairns in Classes 3 and 4 are entitled to vote entire Plau. See Section II.C of this Disclosure Statement
for a discussion of Banl<ruptcy Code requirements for Plan continuation

B. Surnrnary of Classes and Treatment of Claims and Interests

The estimated aggregate amount of claims in each class, and the estimated amount and nature of
consideration to be distributed to each class, is summarized in the table below. lo accordance with section
lle?)(a)(l) ot` the Banlo'uptcy Code, Administrative Clairus and Priority Tax Clairns have not been classified The
Debtors‘ estimates for recoveries by holders of Aliowed Unsecured Clairns in Class 4 are based on, among other
things, the Debtors' current view of the liker amount of Allowed Administrative Claims incurred by the Debtors
through confirmation of the Plan and the costs of administering and winding down the lf)ebtors' Estates. There can
be no guaranty that the Debtors‘ estimates will prove to be accurate.

'i`he estimated amount of Clairns shown in the table below are based upon the Debt'ors' preliminary review

 

 

of their books and records and may be reviHl"subsmntially following further analysis ln addition, the ueneral ear
Date and Administ;rative Claims Bar Date (each as defined below) have not yet passed Ciairnants may assert claims
materially in excess of that shown for such claims on the Debtors' books and records The amount designated in the
table below as "Estimated Percentage Recovery" for each Class is the quotient of the estimated cash to be distributed
to holders ofAllowed Claims in such Class, divided by the estimated aggregate amount of Allowed Claims in such
Class. For a discussion of various factors that could materially affect the amount of cash to be distributed to
unsecured creditors under the Plari, see Article VII. For purposes of computations of Claim amounts,
Administrative Claims and other expenses and for similar computational purposes, the Effective Date is assumed to
occur on May 26, 2009. There can be no assurance, however, if or when the Effective Date will actually occur.

SUMMARY OF CLASSIFICATION AND TREATMENT UNDER THE PLAN3

 

 

 

ESTIMATED
AGGREGA’I`E
`CLAss TREATMENT :Ii;ii§rv':h AM°UNT OF P§;E§€?€E
ALLOWEI) `
VOTE CLAIMS OR RECOVERY
INTERES'I`S
All agreed Prepetition First Lien
Lender Claims were paid pursuant to
glass 1 the Final DIP Order. Disputed _ _
_ , Prepetition First Lien Lender Clairns Ummli”m"ed
{P'"€Pe“”(’” for prepayment penalties that become Not Entmed $0 N/A
FW¢ Lien Altowed Claims will be paid pursuant to Vote
Le”de'” CI“I"”S) to the terms of the Fiuai DIP Order
and Sale Order from the indemnity
account established for such claims

 

 

 

 

 

 

 

The claim amounts set forth above are estimated amounts as derived from the Debtors' books and records The

Debtors intend to solicit votes on the Pian alter the General Claim Bar Date and the Adininistrative Claim Bar
Date have passed As such, prior to delivery of any solicitation materials, the Debtors will update the
Disclosure Statement to reflect the actual claim amounts based on proofs of claim received by the Del)tors prior
to the applicable Claim Bar Date.

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ES'I.`IMATED
STATUS/ ;(§,%§‘:N(EFA§§ ESTIMATEI)
CLASS TREATMEN'I` RIGHT 'I'O PERCEN'I`AGE
voTE ALLOWED RECovERY
CLAIMS OR
INTERESTS
C]ass 2 011 the Effective Date, each holder of Unimpaired
an Allowed Claim in Class 2 Wiii be 30 100°/
(Mfs€ella”e@w paid in full in Cash with postpetition N°f Eefifl‘=d °
Secured Claims) interest if allowed to Vote
On the Effective Date, each holder of
an Allowed Claim in Class 3 shall
mass 3 receive Cash equal to the amount of Impaired
_ v such Allowed Claim without _ $,7 9 million lewy
(P"H?NW postpetition interest, unless the holder E¥*tltled to ' °
Cla’ms) of such Priority Cleim and the V°te
applicable Debtor or Newco agree to a
dinerent treatment
C;ass 4 Each holder of an Allowed General _
Unsecured Clairri will receive its Pro ImPall”ed' $1 4 0 million to
(G€n€ml Rata share of Distributabie Cash as set . - . . 6.3% to 14.4%
E“m!ed to 3160 million
U”Se‘_"“red forth in, end on terms of, Section VI.D Vote
Cla¢m$‘) of the Plau.
Impaired
glass 5 No property will be distributed to or N°t Emitled
retained by the holders of Allowed m V°te) Enkn 00/
(S“bo"‘_iimted Suhordinated Claims on account of Deemed to mm 0
Clmms) such Claims. H"We
Rejected the
Pla:l
No property will be distributed to or Impaired
retained by the holders of Allowed _
mass 6 Prepetition lntercompany Claims on N°t E;ltt\tied
P,.e emi-an account of such Claims._ 19 0 et 0
litercl;mpany Notwithstandi:og this treatment of Deemed to N/A 05
Clm»ms) Class 6 Claims, each holder of a Ha"e
Prepetitiou Intercompa:iy Claim will Acce[*ted me
he deemed to have accepted the Plan. man
_ _ _ Im;)aired
No property will be distributed to or _
glass 7 retained by the holders of Old N°t Entitled
Common Stocl< on account of such to V°te» N/A OW
(Old CO"'"”G” stock, and such Interests will be Deemed to °
Stock I”fe"esfs) terminated and cancelled as of the _H"We
Effective Date. Re.l ected the
Plan

 

 

 

 

 

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ESTIMATED
s’rA"rUs/ §§§§Yr‘*g§ usriMArni)
CLASS TREATMENT RIGHT TO PERCENTAGE
vo'rr: ALLOWED RECOVERY
CLAIMS OR
lNTERESTS
No property will be distributed to or
retained by the holders of Subsidiary lmpa§:.ed
Debtor Equity interests on account ot` _
mass 8 such Interests, and such lnterests will N°t semth
’ to ote
(Subsidia be terminated and cancelled as of the v 9
Debm,, Eq;;y Ei‘i`ective Date. Notwithstanding this D€emed to N'{A 0 A’
jnte,,ests) treatment of Class 8 lnterests, each Ha"e
holder era subsidiary never squay A¢Cerfed the
Interest wili be deemed to have Pla“
accepted the Pian.
C. Voting¢oneand»€oniirmation¢otit-liel!lan
1. Voting Procedures and Requirements

Pursuant to the Banl<ruptcy Code, oniy classes of claims against or equity interests in a debtor that are
"impaired" under the terms of a plan of liquidation or reorganization, and who receive distributions under such pian,
` are entitled to vote to accept or reject the plan. Generally, a class is "inipaired" under a plan unless such plan leaves
unaltered the legal, equitable or contractual rights to which such claim or interest entities the holder of such claim or
interest Classes of claims and interests that are not impaired are not entitled to vote on the plan and are
conclusively presumed to have accepted the plan. In addition, classes of claims and interests that do not receive
distributions under the plan are riot entitied to vote on the plan and are deemed to have rejected the plan. However,
under the Plan, Classes 6 and 8 are nonetheless deemed to have accepted the Pian.

As set forth in the above chart, holders of Claims in Classes 3 and 4 are entitled to vote on the Plan. if
either Class 3 or 4 votes to reject the Pian, {a) the Debtors may seek to satisfy the requirements for Coniirmation of
the Plan under the cramdown provisions of section ll29(b) of the Bankruptcy Code and, if required, may amend the
Plan to conform to the standards of such section or (b) the Plan may be modified or withdrawn with respect to a
particular Debtor, without affecting the Pian as to other Debtors, or in its entirety

Please carefully follow all of the instructions contained on the Ballot or Ballots provided to you with this
Disciosure Staternent if you are entitled to vote on the Plan. All Ballots must be completed and returned in
accordance with the instructions provided.

To be counted, your Baliot or Ballots must be received by the Voting Deadiine at the address set forth on
the preaddressed envelope provided to you. lt is of the utmost importance to the Debtors that you vote promptly to
accept tire Pian.

lf you are entitled to vote and you did not receive a Baliot, received a damaged Ballot or lost your Ballot,
please cail the Debtors' voting agent, Kurtzman Carson Consultants LLC, at (866) 381-9100. Also, this Disclosure
Stateinent, the Plan and ail of the related exhibits and schedules, including Ballots, are available, without charge, to
any party in interest at www.i<cclic.net/boscov.

Votes cannot be transmitted orally or by facsin‘iiie. Accordingiy, you are urged to return your signed and

completed Baliot, by hand deiivery, overnight service or regular U.S. mai], promptiy, so that it is received by the
Debtors' voting agent on or before the Voting Deadline.

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2. Coniirmation Hearing

The Banlcruptcy Code requires the Banlouptcy Court, after proper notice to parties in interest, to hold a
hearing on whether the Debtors have fulfilled the confirmation requirements of section 1129 of the Bankiuptcy
Code. The Coniirrnation Hearing with respect to the Plan has been scheduled for | ], 2009 at | l L}.rn.
(Eastern time) before the Honorable Kevin Gross, United States Banl<ruptcy ludge of the United States Bankruptcy
Court for the District of Delaware at 824 North Market Street, 6th Pioor, Wilrnington, Delaware 19801. The
Coniirrnation Hearing may be adjourned from time to time by the Bankruptcy Court without further notice, except
for an announcement of the adjourned date made at the Contirrnation Hearing. Any objection to continuation must
be made in writing and must specify in detail the name and address of the objecting party, all grounds for the
objection and the amount of the Clahn or Interest held by the objecting party. Any such objections must be filed and
served upon the persons designated in the notice of the Contirtnation Hearing and in the manner and by the deadline
described therein

3. Conf'irmation Requirements

To confirm the Plan, the Bankruptcy Code requires that the Bankruptcy Court make a series of findings
concerning the Plan and the Debtors, including that:

 

v the Plan has classified Claims and lnterests in a permissible manner;

¢ the Plan complies with the applicable provisions of the Bankruptcy Code;

¢ the Debtors have complied With the applicable provisions of the Banltruptcy Code;

¢ the Debtors, as proponents of the Plan, have proposed the Plan in good faith and not by any means
forbidden by iaw;

v the disclosure required by section 1125 of the Bankruptcy Code has been inade;

» the Plan has been accepted by all impaired classes of claims and interests by the requisite number

of votes; or, alternatively, at least one class of impaired claims or interests has voted to accept the
plan (without counting the votes of insiders), and the plan otherwise meets the "cramdown"
requirements with respect to any rejecting classes of claims or interests;

¢ the Plan is feasible;

» all fees and expenses payable under 28 U.S.C. § l930, as determined by the Bankruptcy Court at
the Contirrnation Hearing, have been paid ortho Plan provides for the payment of such fees on the
Efl`ective Date;

» the Pian provides for the continuation atter the Eti?ective Date of all retiree benefits, as defined in

section iii¢i of the Banl<:ruptcy Code, at the level established at any time prior to Conlirrn ation
pursuant to section lli4(e)(l)(B) or lll4(g) of the Banl<ruptcy Code, for the duration of the
period that the applicable l)ebtor has obligated itself to provide such benefits; and

¢ the disclosures required under section 1129(a)(5) of the Bard<ruptcy Code concerning the identity
and aftiiiations of persons who will serve as ot`iicers, directors and voting trustees of the Debtors
or the successors to the Debtors have been made.

4. Best Interests Test; Liquidation Analysis
ln order to confirm the Plan, the Bankruptcy Court must determine that the Plan is in the best interests of

each holder of a Claim or lnterest in any such impaired Cl.ass who has not voted to accept the Plan, Accordingly, it`
an impaired Ciass does not unanimously accept the Plan, the "best interests" test requires that the Bankruptcy Court

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find that the Plan provides to each member of such impaired Class a recovery on account of the member's Claim or
interest that has a value, as of the Bffective Date, at least equal to the value of the distribution that each such
member would receive if the applicable Debtor or Debtors were liquidated under chapter 7 of the Banlo'uptcy Code
on such date

To estimate what members of each impaired Class of Claims or Interests would receive if the Debtors were
liquidated under chapter 7 of the Bankruptcy Code, the Bankruptcy Court must first determine the aggregate dollar
amount that would be available if each of the Banl<ruptcy Cases were converted to a chapter 7 case under the
Bankruptcy Code and each of the respective Debtor's assets were liquidated by a chapter 7 trustee (the "Liguidation
Value"). 'i`he Liquidation Value of a Debtor would consist of the net proceeds received from the disposition of the
Debtor's assets plus any cash held by the Debtor.

Tl:ee Liquidation Value available to holders of Interests or Claims that are not Secured Clairns would be
reduced by, among other things: (i) the Claims of secured creditors to the extent of the value of their collaterai;
(ii) the costs, fees and expenses of the liquidation, as well as other administrative expenses of the Debtor’s chapter 7
case; (iii) unpaid Administrative Clairns of the Banlo'uptcy Cases; and (iv) Priority Claims and Priority Tax Claims.
”l`he Debtors' costs of liquidation in chapter 7 cases would include the compensation of trustees, as well as of counsel
and of other professionals retained by such trustees, asset disposition expenses, applicable Taxes, litigation costs,
Claims arising from the administration of the Debtors during the pendency of the chapter 7 cases and all unpaid
Administrative Clairns incurred by the Debtors during the Bankruptcy Cases that are allowed m the chapter l cases.

The information contained in Exhibit III hereto provides a summary of the Liquidation Values of the
Debtors‘ interests in property, assuming a chapter 7 liquidation in which one or more trustees appointed by the
Bankruptcy Court would liquidate each Debtors' properties and interests In sununary, the Debtors believe that
chapter 7 liquidations would result in diminution in the value to be realized by holders of Ciairns, as compared to the
proposed distributions under the Plan. Consequently, the Debtors believe that the Plan will provide a greater
ultimate return to holders of Clairns than would a chapter 7 liquidation of each Debtor.

5. Conditlons Precedent to tile Effective Date of the Plau

in addition to the requirements for confirmation set forth in the Ban]_ouptcy Code, the Plan itself sets forth
certain conditions that must be met before the Efi`ective Date can occur and the Plan can be consummated These
conditions include:

Couditions to Coufirrnation

’I`he Baniouptcy Court shall not be requested to enter an order confirming the Plan unless and until the
following conditions have been satisfied or duly waived pursuant to Section IX.C of the Plan:

l. The Conlirrnation Order shall be reasonably acceptable in form and substance to the
Debtors and the Creditors' Corrunittee.

2. Ali Exhibits to the Plan are in form and substance reasonably satisfactory to the Debtors
and the Creditors' Cornmittee.

Conditions to the Ei'fective Date

The Effective Date shall not occur, and the Plan shall not be consummated unless and until the following
conditions have been satisfied or duly waived pursuant to Section IX.C of the Plan:

i. The Bankruptcy Court shall have entered the Coniirination Order, which shall be a Final
Order.

2. The Merger has been consummated and the Newco Charter and Newco Bylaws are in
full force and effect and Newco has been vested with the authority to carry out the Post-
Eft`ective Date Transactions.

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` The conditions to Ccni`n'lnation and the conditions to the Et`i`ective Date may he waived in whole or part at
any tirne by the Debtors, in consultation with the Creditors‘ Cornrnittee, without an order of the Bankruptcy Court.

D. Et`fect of Nonoccurrence of Conditions to the Ei`fective Date and Arnendrnents to or
Revocation of the Plan

if each ofthe conditions to the Ei°fective Date is not satisfied or duly waived in accordance with Section
iXtC of the Plan, then upon motion by the Debtors or any party in interest made before tire tirne that each of such
conditions has been satisfied and upon notice to such parties in interest as the Banlouptcy Court may direct, the
Confirrnation Order will be vacated by the Banl<ruptcy Court.

Subject to the restrictions on plan modifications set forth in section ll27 of the Bankruptcy Code, the
Debtors reserve the right to alter, amend or modify the Plan before the Effective Date. 'i`he Debtors also reserve the
right to revoke or withdraw the Plan prior to the Cont'nrnation Date.

If the Debtors revoke or withdraw the Plan; if confirmation does not occur; or if the Contirmation Order is
vacated, then the Plan will be null and void in all respects, and nothing contained in the Plan wiii: (l) constitute a
waiver or release of any Clairns by or against, or any interests in, any Debtor; (2) prejudice in any manner the rights
of any Dei)tor or any other party in interest; or (3) constitute an admission of any sort by any Debtor or any other

 

party in interest

E. Alternatives to Confirmation and Consummation of the Plan

lt no plan of reorganization under chapter il of the Banlo"optcy Code can be confirmed, the Banlo'uptcy
Cases may be converted to chapter 7 cases. As previously discussed, in a liquidation case under chapter 7 ot` the
Bankruptcy Code, a trustee or trustees would be appointed to liquidate the remaining assets of each Debtor and
distribute proceeds to creditors The proceeds of the liquidation would be distributed to the respective creditors of
the Debtors in accordance with the priorities established by chapter 7 of the Banl<ruptcy Code. The Debtors believe
that Confirmation and consummation of the Plan is preferable to a conversion of these chapter i l cases to chapter 7.

III. HISTORY OF THE DEBTORS
A. Historicai Overview

Prior to the sale of their business, the Debtors owned and operated the nation‘s largest farnin owned, full
service department store chain Estabiished in 1911 and having opened its first department store in 1962, the
Debtors operated 49 stores in Pennsylvania, New Jersey, Maryland, New York, and Delaware prior to the Petition
Date. The typical Boscov's store served smaller, middle-market cormnunities and relied extensively on years of
customer goodwill derived dorn its family-oriented background and commitment to the communities in which it
operates 'i`his, in turn, has led it to be, in most instances, the leading department store retailer in those communities
Following the closing of the sale of the Delotors' assets to BLF on Decernher 4, 2008, BLF has continued to operate
the Boscov‘s retail chain in much the same fashion as the Debtors operated it prior to the Petition Date.

B. Events Leading up to the Debtors' Cllapter 11 Filings

Several internal and external factors severely impacted the Debtors, ultimately prompting the near term
liquidity pressures that precipitated the Debtors’ decision to tile their Banlcruptcy Cases. The nation overall and the
communities in which the Debtors formerly operated have been grappling over the past year with a collapse in the
housing market, skyrocketing energy and gasoline prices and steadily increasing food costs leading to a decline in
the discretionary spending by consumers upon which the Debtors' business traditionally relied The Debtors were
also a victim of the recent tightening in the credit markets, which negatively impacted the Debtors' operations and
cash position As previously discussed, prior to the Petition Date, extremely tight credit markets hampered the
Debtors' ability to increase liquidity to finance the acquisition of inventory and merchandise Moreover, the
Del)tors‘ liquidity woes caused many of their trade vendors to tighten credit terms, require cash on delivery, or, in
some cases, require cash in advance, which further eroded their precarious Cash position and impaired their ability
to stock adequate merchandise to meet traditional customer demands

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Prior to the Petition Date, the l)ebtors sought to shore up their financial performance and seek increased
liquidity and flexibility in the marketplace Those efforts included, among other things, attempts to locate
alternative sources of financing, discussions and consultations with prospective strategic or financial buyers and the
retention of financial advisory and investment banking firms to aid in these efforts Specificaliy, in Noven:iber 2007,
the Debtors retained Capstone Advisory Group LLP ("Capstone“} to provide financial and strategic advice in
connection with a potential restructuring sale or refinancing ”l`lie Debtors extended their engagement with
Capstone in July 2008 to provide certain tinanciai, advisory and consulting services in connection with contingency
planning and restructuring efforts

ln addition to Capstone, the Debtors also retained Barclays in l\/lay 2008 to, among other things, act as the
investment banker to the Debtors in connection with a potential sale of the Debtors' business and assets, efforts to
raise new capital through potential debt and equity offerings and related matters To this end, Barclays contacted
approximately 25 potential buyers, including both strategic buyers and iinancial buyers but were unsuccessful in
finding an investment significant enough to prevent a bankruptcy filing

"i'iie Debtors also instituted a number of cost cutting measures to trim expenses and boost efficiency in
addition to seeking alternative or additional financing to boost liquidity. 'l`lie Debtors, among other things, reduced
headcount at their headquarters reduced payroll, eliminated holiday and other bonuses, pared back advertising costs
and deferred payroll increases

 

Notwithstanding the diligent pursuit of out of court alternatives, the Debtors were unable to conclude these
efforts within the necessary timefraine. Accordingly, the Debtors filed their Bankruptcy Cases with a view towards
engaging in a deliberative and comprehensive strategic planning process while weathering the economic storm
buileting domestic retailers

IV. CAPITAL STRUCTURE AS OF ’I`HE PETITION DATE4
A. General

As of the Petition Date, the Debtors‘ primary liabilities consisted of: (l) a senior secured credit facility;
(2) a junior secured term ioan agreement (3) mortgage debt; (4) unsecured trade debt; and (5) lease obligations
These liabilities are described in more detail below.

B. Secured Debt
1. Prepetition First Lien Credit Faeility

Dei)tors BSCV Department Store, LLC (ill</a Boscov‘s Departinent Store, LLC) and BSCV II, lnc. (f/i</a
SDS, inc.) were borrowers under a certain tive~year revolving credit facility dated January 27, 2006 with Bank of
Ainerica, N.A., as agent, and various lenders thereto (as amended from time to tune, the ("Prepetition First Lien
Credit Facility"}. Each of the other Debtors was a guarantor under the Prepetition First Lien Credit Facility.

Pursuant to its original terrns, the Prepetition First Lien Credit Facility included: (a) a last-in, first~out
revolving credit facility of up to 3340 million; (b) a iirst~in, last~out revolving credit facility of up to $30 million;
and (c) a $50 million subliniit for letters of credit The Prepetition First Lien Credit Facility was secured by a iirst~
priority lien on substantially all of the Debtors‘ assets As of the Petition Date, the principal amount owing under the
Prepetition First Lien Credit Facility was approximately $122 million, in addition to approximately S35 million of
letters of credit that were outstanding thereundcr. As discussed below, these amounts were paid in full with the
proceeds of the DIP Credit Agreernent. Certain of the Prepetition First Lien Lenders have asserted that they are
entitled to certain "prepayrnent“ fees because the Debtors paid in full all amounts due under the Prepetition First
Lien Credit Facility with proceeds of the DIP Credit Agreernent. The Debtors and Creditors Coinrnittee dispute
these assertions

 

4 Notliing in this Article IV is an admission as to the proper characterization of the transactions and liabilities

discussed herein.

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2. Prepetition Second Lien Credit Faciiity

Debtors BSCV Department Store, LLC (ffl</a Boscov's Departrnent Store, LLC) and BSCV II, Inc. (B’k/a
SDS. lnc.) were also borrowers under a tenn loan credit facility dated March 20, 2008 with Bear Stearns Corporate
Lending Inc.., as agent, and various lenders thereto (the " repetition Second Lien Credit I"aciiity")` Siiortly
thereafter, Bear Steams Corporate Lending, Inc. was acquired by .¥.P. Morgan Chase (" .P. Morgan") and J.P.
`Morgan became the agent under the Prepetition Second Lien Credit Facility. Subsequently, GB Merchant Partners
LLC ("Gordon Brothers") acquired a one hundred percent (100%) interest in the Prepetition Second Lien Credit
Faciiity and became the agent thereunder` The Prepetition Second Lien Credit Facility was guaranteed by each of
the other Debtors as well as by certain non»l)ebtor reai estate entities owned or controlled by members of the
Boscov and Lal<in families The Prepetition Second Lien Credit Facility had an original principal amount of $60
miilion.

As of the Petition Date, the principal amount owing under the Prepetition Second Lien Credit Facility was
approximately $38 million As previously discussed above, all amounts owing under the Prepetition Second Lien
Credit Facility were paid in full with a portion of the proceeds of the sale of the Debtors' assets to BLF.

3. The Toms River Mortgage

 

Prior to the Petition Date, Debtor BSCV H, Inc. (t`/l</a SDS. Inc.) acquired ownership et two stores in
Wilkes~Barre, Pennsylvania and 'i`orns River, New Jersey. Prior to the closing of the sale to BLF, BSCV II, I.nc. was
the obligor on an $8 miliion mortgage on the Toms River store and that mortgage was also guaranteed by BSCV,
Inc. (Hk/a Boscov's, lnc.). As part of the sale of the Debtors' assets, BLF assumed all obiigations owing with respect
to the rFoms River mortgage

C. Unsecured I)ebt
1. Trade Debt

As an operator of a large retail chain operation, the Debtors purchased inventory from over 3,000 vendors
located throughout the World. 'i`he Debtors purchased merchandise under normal purchase commitments in the
ordinary course of business As of the Petition Date, the Debtors estimate that they owed in excess of $ 100 million
for merchandise and other unsecured obligations for goods and services

2. leasehold Obligations

Prior to the Petition Date, the Debtors leased all of their retail department stores, with the exception of the
two stores owned by Debtor BSCV Ii, lnc. (le</a SDS. Inc.). BSCV Ii, Inc. in mm leased these two stores to BSCV
Departinent Store LLC (t?k/a Boscov's Department Store LLC).

D. Equity lnterests
l. Old Common Stocir

'I`he Debtors are a private, family held business and the Old Connnon Stocl< was not publicly traded All of
the OId Corrnnon Stoclt is held by members of the Boscov and Lakin families and certain related parties, either in
their respective individual capacities or through various trusts

2. Subsidiary Debtor Eqaity Interests

BSCV, fnc. (tYi</'a Boscov‘s, lnc.) owns a 100% interest in each of the Debtors except BSCV Department
Store, LLC (i"/k/a BSCV Department Store, LLC), 99% of which is owned by BSCV, inc. The remaining i% is
owned by Debtor BSCV PSL Inc. (N'k/a Boscov's PSI, Inc.).

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V. EVEN'I'S DURING THE BANKRUPTCY CASES
A. First Day Reiiei`
On the Petition Date, the Debtors filed a number of motions and other pleadings (the “First Day l\/iotions"),

the most significant of which are described below. The First Day Motions were proposed to ensure an orderly
transition into chapter ll.

1. Key First Day Motions:
» a motion to pay prepetition wages and other benefits to the Debtors' employees;
v a motion to honor certain prepetition obligations to customers;
v a motion relating to the continued use of the Debtors' existing cash management

system, bank accounts, business forms and investment and deposit guidelines;

» motions relating to case administration and the use of Kurtzman Carson
GonsuitantstLGastheDebtorsl€laims?Noticmgnnd»Ball eric g A gent;

 

0 a motion to obtain postpetition debtor in possession financing and the use of
cash coilaterai;

o a motion to approve expedited sale procedures and stalking horse bidder
protections as well as to approve store closing sales and related relief;

¢ a motion to establish procedures for determining adequate assurance for the
provision of utility services;

¢ a motion to pay certain prepetition governmental obligations and taxes;

¢ a motion to continue and maintain insurance policies (including a workers'
compensation program); and

¢ applications to retain professional advisors to the De`r)tors, including J ones Day,
Capstone and Richards, Layton and Finger, LLP.

rl'he Pirst Day Motions were granted with certain adjustments or modifications to accommodate the
concerns of the Banltniptcy Court, the United States Trustee and other parties in interest

B. Tlie DIP Credit Agreement

Aiter extensive and arrn‘s length negotiations with certain lenders under the Prepetition Fnst Lien Credit
Facility and the Prepetition Second Lien Credit Facility, the Debtors entered into tire DIP Credit Agreenient on
August 4, 2008. The DIP Credit Agreement was approved on an interim basis by the Bankruptcy Court on August
5, 2008 and the Final DIP Order was entered by the Banicruptey Court on August 29, 2008.

Pnrsuant to its terms, the DlP Credit Agreernent included: (a) a revolving credit facility of up to 33225
million (the "First Lien Dl]? Revolver"); (b) a “last out revolver advance" of up to $25 million (the “First Lien Dli’
Last Out Revolver Advance"); and (c) a $50 million subiirnit i`or letters of credit Tire proceeds of the DIP Credit
Agreement were used: {a) to refinance on a rolling basis the obligations owing under the Prepetition First Lien
Credit Yacility and to pay related transaction fees and expenses; (b) for working capital and the general corporate
purposes ofthe Debtors; and (c) for payment of postpetition expenses arising in connection with the Debtors'
Bankruptcy Cases. ’I`he amounts outstanding under the DIP Credit Agreement were paid in full in connection with
the sale of the Debtors' assets to BLF.

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C. Appointment of the Creditors' Committee

On August 12, 2008, the United. States Trustee appointed the Creditors’ Cornrnittee. The current

membership of the Creditors' Cornrnittee is as follows:

Creditors' Comrnittee Memhers:

Kellwood Company
Attn: Edward J. Upbin
600 Keliwood Parkway
Chesteriield, MO 63017
Phone: 314-576-8506

Jones Apparel Group, Inc.

Attn: Sharyn Wisrnann
180 Rittenhouse Circie
Bristol, PA 19007,
Phone: 2l5-781-5520

GMACCommenialeame Lm,

Attn: Artiinr Brown

1290 Avenue of tile Arnericas
New York, NY 10104

Phone: 212-884~7034

VF Jeanswear (d/b/a Lee Company)

Attn; Mii<e Durrant
335 Church Ct.
Greensboro, NC 27401
Phone: 336-519-6212

HanesBrands, Inc.

Attn: Russeii R. D‘Sonza
1000 E. Hanes Mill Road
Winston»Salem, NC 27105
Phone: 336»5 19~6212

Philadelphia Newspapers, Inc.

Attn. Scott D. Baker, Esq.
400 N. Broad Street
Philadeiphia, PA i9i30
Plione: 215-854-5969

Phillips~Van Heusen

Attn: Warren C. Gerber, Jr.
1001 Frontier Road
Bridgewater, NJ 08807
Phone: 908-698~6345

Counsei:

Cooiey Codward Kronish LLP
Attn: Larry Gottlieb, Esq.

The Grace Building

1114 Avenne of the Arnericas
New Yorl<, NY 10036~7'798
Phone: 212-479~6000

And

Potter Anderson & Corroon LLP
Attn: Steven Yoder, Esq.

~rT 11 nl r.

1313 Nortb Market Street
Wilinington, DE i9801
Phone: 302-984-6000

Financial Advisors:

Traxi LLC

Attn: Anthon J. Paccliia
120 West 45 ` Street
'l`ower 45 - 6fill Floor
New York, NY 10036
Phone: 212»810~1927

D. Liquidation of Underperforming Stores

in the summer of2008, in anticipation of a banio‘uptey iiling, the Debtors‘ management, with the assistance
of their financial advisors, identified ten store locations (coliectiveiy, the "Closing Stores") as underperforming and
determined that they should conduct store closing sales at these locations as soon as possibie after the Petition Date
(tbe " tore Closing Saies"). ’I'iie Debtors believed that the proposed Store Ciosing Saies would maximize recoveries
to their Estates with respect to tile assets located at the Closing Stores and allow the Debtors to retire immediately a

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portion of their secured debt. Furtlier, the proposed Store Closing Sales would dramatically reduce, and ultimately
eliminate, the administrative costs associated with these underperfonning Closing Stores.

In connection with their efforts to liquidate the Closing Stores, the De’otors contacted five national
liquidation firms (the “I,,iguidation Firms") that specialize in, among other things, the large scale liquidation of
assets to liquidate the merchandise (the "Merchandise“) located at the Closing Stores. Atter receiving a signed
confidentiality agreement from several Liquidation Firrns, the Debtors provided these firms with substantial due
diligence materials Soon thereafter, the Debtors received three initial bids. Because the bids received by the
Debtors were in different formats, the Debtors decided to circulate a standard agreement to each of the initial bidders
and solicit additional bids based on the standard agreementl Ai’ter circulating the standard form agreement, the
Debtors received a bid from Gordon Brothers Retail Partners, LLC ("Gordon Brothers LLC“) that, in the Debtors'
view, presented the best offer. Soon after selecting Gordon Brothers LLC as the stalking horse bidder, the Debtors
negotiated and entered into a stail<ing horse agreement (the " talking Horse Agreernent") with Gordon Brothers
LLC.

Under the Stalking Horse Agreement, the Debtors were to receive 103% of the Cost Value (as defined in
the Stalidng Horse Agreement) of the Merchandise, which the Debtors valued at no lower than $34 millionl ”l`he
Stalking Horse Agreement further provided that the Debtors would receive additional consideration if the proceeds
nom the Store Closing Sales exceeded certain specified amounts Finally, the Stalk'ing Horse Agreement provided

 

that Gordon Brothers LLC would assume financial responsibthty for the vast majority of the expenses incurred in
conducting the Storc Ciosing Sales, including certain payroll and occupancy related expenses

Pursuant to a Bankruptcy Court order dated August 5, 2008 (the "Store Closing 0rder"), the Bankruptcy
Court authorized the Debtors to execute the Stalking I-lorse Agreement, subject to higher and better offers, and
provided for an auction to be heid on August 12, 2008 (the ”Store Closing Auction") for the right to liquidate the
Closing Stores. The Store Closing Auction was extremely competitive with over 8 nationally known liquidation
firms submitting competitive bids. At the conclusion of the Store Closing Auction, a consortium of Gordon
Brothers LLC and Hilco Merchant Resources ("Hiico") submitted the winning hid, agreeing to purchase the
Merchandise for a Guaranteed Amount of 108.3% of the Cost Value of the Merchandise. On August 15, 2008, the
Bankruptcy Court entered an order (the "Store Liguidation Order") approving the Gordon Brothers LLC-Hilco Bid
and approving the Debtors' entry into an agency agreement on substantially the same terms as the Stalking Horse
Agreernent.

 

On August 17, 2008, Hilco and Gordon Brothers LLC commenced the Store Closiug Sales, which
concluded in October 2008, at which time each of the real property leases associated with the Closing Stores was
rejected

E. Sale of Substantially All of the Debtors' Assets

Despite the positive results netted from the Store Ciosing Sales, the Debtors‘ business continued to require
additional capital in order to achieve long-term viability Tlie downward trend in retaii performance and the
constrictions in the capital markets greatly limited the i)et)tors' ability to acquire goods in anticipation of the corning
holiday season. Accordingiy, Barclays embarked on a process to find a buyer or investor as part of the Dehtors'
long-term chapter l l strategy As part of that process, it became apparent that any potential buyer or investor likely
would want to close a transaction with the Debtors prior to the onset of the holiday season, the Debtors' most
lucrative sales season of the year. Consequently, the Debtors moved with great urgency to explore a going concern
sale transaction that could close near the end of October 2008 or the beginning ofNovember 2008.

On Septeinber 30, 2008, the Debtors executed the Regio APA, which contemplated the sale of substantially
all of the Debtors' assets as a going concern. fn early October 2008, the Bankruptcy Court approved an expedited
sale process in connection with the Regio APA, which contemplated a bidding deadline of Octoher 15, 2008 for any
competing qualified bids, an auction, if necessary, on October 20, 2008, and a sale hearing to commence on October
21, 2008.

On the sale bidding deadline, the Debtors received only one other bid, from BL¥. October 15, 2008 was
also the deadline set forth in the Regio APA to provide the Debtors with documentation demonstrating that Regio
had the requisite financing and equity commitments to close its purchase of the Debtors within the timeframe set

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forth in the Regio APA. As of October 15, 2008, the documentation that Regio had submitted to the Debtors did
not, in the Debtors' view, demonstrate that Regio had the requisite financing to close the transaction, and at that
tirne, Regio proposed to the Dei)tors that the closing of any sale be deferred until January 7, 2009. Versa and Regio
dispute the .'Debtors’ contention and assert that Regio did provide documentation evidencing its financing and equity
commitments provided for under the Regio APA and that Regio wouid have iikeiy closed the sale at an earlier date
if given the opportunity The Debtors beiieve that Versa‘s assertions have no meritl

Prorn the Debtors' perspective, a January 2009 closing presented several risks, including running afoul of
their commitments to the Debtors‘ postpetition ]enders, who had insisted that any sale close prior to Decernber 2008.
Nevertheless, the Debtors and Regic agreed to extend many of the sale-related deadlines in an effort to secure a deal.
At the sarne tune, the Debtors continued negotiations with BLF regarding a potential saie transaction As
negotiations between the Debtors and their potential suitors progressed, it became increasingly clear to the Debtors,
the Creditors' Corrnnittee and the DIP Lenders that a sale transaction with BLF would have several advantages over
a transaction with Regio, not the least of which was that BLF could finance a transaction to ciose entire tirnefrarne
required by the Dii’ Lenders. Consequently, on October 31, 2008, following a meeting of a special committee of the
Debtors' board of directors, and with tire consent of the Creditors' Comrnittee, the Debtors terminated the Regio
APA pursuant to section 4.4(e) thereof.

On Novernber 3, 2003, with the support of the Creditors' Conirnittee, the Debtors executed the BLF APA,

 

which provided for the sale ot substantiality all or the Debtors' assets to BLr, and the assumption andas§gnmértp…
certain contracts and leases in connection therewith On Novernber 21, 2008, the Banl<ruptcy Court approved the

sale to BLF, as well as the assumption and assignment to BLF of many of the Debtors' contracts and leases. On

Decernber 4, -2008, the Debtors closed the sale with BLF, the proceeds from which have been used to pay the

Debtors‘ secured bank debt in full 'i`he remainder of the sale proceeds wili be used to bind distributions under the

Plan and to pay administrative costs

F. Shareholder Settiernent

Since the inception of tire Bankruptcy Cases, the Crcditors' Conunittee, in hetherance of its iiduciary
duties, and with the full cooperation of the Debtors, has engaged in a process of gathering and reviewing general due
diligence with respect to the Debtors’ assets and liabilities, as well as the validity, extent and priority of the Debtors‘
prepetition credit facilities ln the process of this review, the Creditors' Cornrnittee was particularly focused on any
and ali transactions that involved the transfer of the De‘otors‘ assets to insiders of the company in the years
irnrnediateiy preceding the Petition Date. Based on its review of the due diligence, the Creditors' Conirnittee
identiiied two transactions that, in its opinion, required heightened scrutiny - a recapitalization of the Debtors in
2006 (the " 006 Recapitalization") pursuant to which the Debtors sold significant assets and redeemed equity
interests heid by the Shareholders for approximately $185 million; and a transaction in 2008 pursuant to which
landlord entities controlled by former Sharehoiders contributed S20 million to the Debtors in exchange for, among
other things, increased rent payments by the Debtors to such entities for the remaining lease terms (the "_2_0_®
Transaction" and, together with the 2006 Recapitalization, the "Shareholder Transactions").

Based on its review of the relevant materiais, the Creditors‘ Comrnittee believed that there was
documentary evidence that could give rise to a colorable clai;rn against the Sharehoiders relative to the Shareholder
Transactions, and in particular, that certain transfers made by the Debtors to the Shareholders could be avoidable as
constructively fraudulent transfers under applicable iaw. The Sharehoiders, in tnrn, asserted that several vaiid
defenses to any such claims existed, hiciuding that the Debtors were solvent during the Shareholder Transactions;
that the Debtors received reasonably equivalent value in exchange for the transfers; and that binding Third Circuit
precedent with respect to the so-called "settlernent payment defense" pursuant to section 546(e) of the Bankruptcy
Code would bar the prosecution of any claims reiated to the Shareholder Transactions.

Ultirnateiy, the parties agreed that a consensual resoiution would provide the maximum benefit to the
Debtors' Estates and their creditors and enabie the Debtors' Estates and the Shareliolders to avoid considerabie
litigation expenses and delay. Accordingiy, in connection with the negotiations of the sale transaction with BLF, the
Creditors' Cornmittee and counsel for the Sharehoiders engaged in arrn’s length discussions about the terms of a
potential settlement 'I`hese efforts culminated with the Shareholder Settlernent, Which provides, in relevant part, the
following resolution:

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0 General Releases. ”i`he Debtors and the Creditors' Cornmittee released the Shareholders, related
parties, agents, or transferees and any of the Dcl>tors’ current or former shareholders ofticers,
directors, or employees from any claims, or liabilities, including without lim.itation, any claims or
liabilities relating to the Sliarehoider ’l`ransactions, and any avoidance or similar actions (whether
arising under the Banlcruptcy Code, or otherwise) relating to the Shareholder '.t"ransactions.

0 Consideration. At the closing of the BLF sale transaction the following amounts were paid:
-~ ']_`he Shareholders paid to the Debtors 38 million in immediately available funds

m BLF furnished to the Debtors a duly executed copy of the Purchaser Note in the amount of
$4 million

By a joint motion between the Debtors and the Creditors' Conunittee dated Noveniber 12, 2003, the Debtors
sought Bankruptcy Court approval of the Shareholder Settlernent. The Bankruptcy Court approved the Shareholder
Settlernent in all respects on November 21, 2003 in connection with the BLF sale transaction

G. Bar Date Motion

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authorization to establish certain bar dates for filing proofs of claim against the Debtors' Estates and seeking
allowance of administrative expense claims By order dated Decernber 19, 2008 (the "Bar Date Order"), the
Bankruptcy Court granted the Bar Date Motion, establishing March 2, 2009 at 5:00 p.rn. (P'l,`) as the bar date both
for (i) filing proofs ot` claim against the Debtors' Estates (the “General Ciaim Bar Date"), and (ii) filing applications
for allowance of administrative expense claims arising between August 4, 2003 through and including December 4,
2008 (the "Administrative Claim Bar Date“). On Decernber 29, 2008, the Debtors served, among other things,
notice of the General Clairns Bar Date and the Adrninistrative Clairn Bar Date in accordance with the Bar Date
Order.

H. Versa Motion for Payment of Breakup Fee

On Decernber 24, 2008, Versa filed with the Bankruptcy Court a motion {the "Breakup Fee Motion") for
the allowance and payment of a super~priority claim in an amount of $4 million arising under the Regio APA as a
result of the termination of the Regio APA and the Debtors‘ subsequent closing of the sale transaction with BLF.
Versa argues that it is entitled to payment of a breakup fee because the Debtors' pursuit ot` a sale with BLF triggered
an automatic right of payment of a breakup fee under section 4.4(p) of the Regio APA. Alternativeiy, Versa argues
that it is entitled to a $4 million administrative expense claim pursuant to section 503(b) of the Banl<ruptcy Code
because its role as a stallcing horse buyer was necessary to preserve and enhance the value of the Debtors' estate.

Ou lanuary 14, 2009, the Debtors and the Creditors' Cornrnittee filed theirjoint objection to the Breaicup
Fee Motion, in which they adamantly disputed the assertions raised by Versa in the Brealcup I~`ee Motion. Versa
filed a reply in support of the Brealcup Fee Motion on January l6, 2009, in which it contested the Debtors' assertions
raised in their joint objection The parties currently are engaged in discovery pursuant to a scheduling order entered
by the Bankruptcy Court on February 27, 2009. A final hearing on the Breakup Fee l\/Iotion is scheduled for May
12, 2009. The Debtors and the Creditors' Cornrnittee contend that the Breakup Fee Motion is without merit Versa
disagrees and believes it is entitled to the relief sought in the Breal<up Fee Motion. l`o the extent the Bankruptcy
Court were to award Versa a breakup fee or other payment, the payment of such amounts could significantly reduce
distributions to holders of Class 4 Clairns under the Plan.

VI. MEANS FOR IMPLEMENTATION OF THE PLAN
A. Continued Corporate Existence and Vesting of Assets in Newco

On or immediately after the Effective Date, other than the transactions effectuated by the Merger, all of the
Debtors will be fully liquidated and dissolved except for BSCV, lnc. (£/ida Boscov's, Inc.) ("Old Boscov's"), which
will be merged With and into Newco, with Newco as the surviving corporation (the "Merger“). All assets of each
dissolved Debtor's Estate will be transferred to, and vest in, I\iewco as successor to Old Boscov's, free and clear of

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any and all Clairns, liens, charges, other encumbrances, interests and other interests to effectuate distributions to
creditors under the Plan. Except as otherwise provided in the Plan, (i) Newco, as successor to Old Boscov's, will
continue to exist after the Effective Date as a separate legal entity, with all oftlie powers of such a legal entity under
applicable law and without prejudice to any right to alter or terminate such existence (whether by merger,
dissolution or otherwise) under applicable state law; and (2) on the Effective Date and after the effectiveness of the
Merger under applicable state law, all property of Old Boscov's, unless used to satisfy Claitns under the Plan to be
paid under the Plan on the Eiiective Date, will vest in Newco ii'ee and clear of any and all Ciairns, liens, charges,
other encumbrances, Interests and other interests

Prior to the Merger, pursuant to the Plan, all of the outstanding shares of Oid Boscov's cornrnon stock will
be cancelled as worthless stock and a single new share of common stock of Olci Boscov's will be issued to the
Responsible Person (the "Sliare Cancellation and Reissuance“). ln the Merger, each outstanding share of common
stock of Old Boscov's will be cancelled in exchange for the right to receive one share ofNewco common stock.

The cancellation of all of the outstanding shares of Old Boscov's common stole and the issuance of a single
share of Old Cornrnon Stock (wliich will be subsequently cancelled by the Merger) to the Responsible Person as part
of the Share Cancellation and Reissuance pursuant to the Plan is exempt from registration under the Securities Act
of 1933, and in any event would also be exempt pursuant to Section 4(2) of the Securities Act of 1.933. in addition,
the issuance of one share ofNewco Cornrnon Stocl< to the Responsible Person alter the Merger is exempt from
registration pursuant to Section 4(2) of the Securities Act ot 1933.

Because Ncwco will not have any securities outstanding after the Share Cancellation and Reissuance and
the Merger other than the share of Newco cornrnon stock issued to the Responsihle Person, Newco will not be
subject to the periodic reporting requirements under Section l3{a) or lS(d) of the Securities Exchange Act oi` 1934.

B. Other Means for Implementation of the I’lan
1. Post~Effective Date Transactions

Prior to the Coniirrnation Date, the Debtors disposed of substantially all of their material assets pursuant to
the Sale and Sale Order. Upon the effectiveness of the Plan, Newco will wind-down the Estates and dispose of any
remaining assets pursuant to the Plan and the distribution scheme contained in the Plan.

At`ter the Effective Date, Newco may enter into such Post-Ei`fecti_ve Date Transactions and may take such
actions as it niay determine to be necessary or appropriate to effect, in accordance with applicable non-bankruptcy
law, the terms oftlie Plan. Notwithstanding the foregoing and regardless of whether any Post-Effective Date
Transactions have yet been taken with respect to a particular Debtor, upon the transfer of the Debtors' assets to
Newco under the Plan, the Debtors will be deemed dissolved and their business operations withdrawn for all
purposes without any necessity of iiling any document, taking any further action or making any payment to any
governmental authority in connection therewith

The actions to effect the Post~BFfective Date Transactions described above may include: (i) the execution
and delivery of appropriate agreements or other documents of transfer, merger, consolidation disposition
liquidation or dissolution containing terms that are consistent with the terms of the Plan and that satisfy the
requirements of applicable law, as well as other tenns to which these entities may agree; (ii) the execution and
deliver ot` appropriate instruments of transfer, assignment assumption or delegation of any asset, property, right,
liability, duty or obligation on terms consistent with the terms of the Pian and having such other terms as these
entities may agree; (iii) the filing of appropriate certificates or articles of merger, consolidation3 continuance or
dissolution or similar instruments with the applicable governmental authorities; and (iv) the taking of all other
actions that these entities determine to be necessary or appropriate, including making other tilings or recordings that
may be required by applicable law in connection with the Post-Eft`ective Date Transactions.

The Post~Effective Date Transactions will result in all of the respective assets, properties, rights, liabilities,
duties and obligations of each Debtor, as of the Effective Date, vesting in Newco. Newco will perform all
obiigations pursuant to the Plan to pay or otherwise satisfy the Allowed Clainis against any such Debtor, except as
provided in the Plan.

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2. Corporate Governance and l)irectors and Oi`i"ieers

As of the Effective Date, and pursuant to the Plan, the Newco Charter and Newco Bylaws will be
substantially in the forms set forth in Exliibits f and ll to the Plan. "l`lie Newco Charter and Newco Bylaws will: (a)
prohibit the issuance of nonvoting equity securities to the extent required by section ll.23(a)(6) of the Bankruptcy
Code; and (b) set forth the duties and responsibilities of the Responsible Person. On or prior to the Effective Date,
Newco will tile the Newco Charter with the Secretary of State of the State of Delaware in accordance with the
applicable corporate law of such state. On or prior to the Effective Date, Newco and Old Boscov's will file a
Certificate of Merger with the Secretary of State of the State of Delaware and Articles of Merger with the Secretary
of State of the State of Pennsylvania in accordance with the applicable corporate laws of such states in order to
effect the Merger. The Certificate of Merger and Articles of l\/ierger will each provide that the Newco Charter and
Newco Bylaws will survive the Merger as the charter and bylaws ofNewco. After the Merger, Newco may amend
and restate its Certificate of Incorporation or bylaws as permitted by applicable state law, subject to the terms and
conditions of such constituent documents

 

Sub_i ect to any requirement ot Banicruptcy Court approval pursuant to section iiayra)i;)) of dre*Bardn~uptcm
Code, from and after the Effective Date: (a) the initial officer ofNewco will be the Responsil)le Person identified on
Exhibit l to the Plan and (b) the initial board of directors ofNewco shall consist of the Responsible Person. The
Responsible Person will serve from and after the Efl"ective Date (both before and after the effectiveness of the
Merger) until the earlier of (a) his or her successor is duly elected or appointed and qualified or until his or her
earlier death, resignation or removal in accordance with the terms oftlie Newco Charter, Newco Bylaws and state
law; or (b) the closing of the Banl<ruptcy Cases. Tlie initial Responsible Person identified on Exhibit 1 to the Plan
will be selected by the Creditors‘ Cornrnittee and any subsequent Responsible Person (if any) will be selected by the
Oversight Comrnittee in accordance with the terms of the Newco Charter, Newco Bylaws and applicable state iaw.

3. Workers' Conipensation Prograrns; No Change in Coutrol

From and after the Effective Date, with respect to`employees retained by Newco, as successor to Old
Boscov‘s, if any, to effect the Plan, Newco will continue to administer and pay all valid claims for beneiits and
iiabilities arising under the Debtors' workers' compensation programs for which Newco is responsible under
applicable state workers' compensation law, regardless of when the applicable injuries were incurred, in accordance
with the Debtors' prepetition practices and procedures and governing state workers compensation law. Newco
expressly reserves the right to challenge the vaiidity of any claim for benefits or liabilities arising under any workers'
compensation programl

The consummation of the Plan, including the Merger and the Share Cancellation and Reissuance, the
implementation of tire Post-Effective Date Transactions or assumption and assignment of any Executory Contract or
Unexpired Lease to Newco, as successor to Old Boscov's, is not intended to, and will not, constitute a change in
ownership or change in control under any employee benefit plan or prograin, financial instminent, loan or financing
agreement, Executory Contract or Unexpired Lease or contract, lease or agreement in existence on the Effective
Date to which a Debtor is a party.

4. Termination of A§l Employee Benefit Plans and Workers' Compensation Benef"its

Except as otherwise determined by Newco, all existing employee benefit plans and workers‘ compensation
benefits not previously expired or terminated by the Debtors will be terminated on or before the Effective Date.

5. Compliance with Section 1114 of the Bankruptcy Code

Notwithstanding Section IV.B.4 of the Plan, from and aner the Effective Date, Newco, as successor to Old
Boscov‘s, shall be obligated to pay retiree benefits (as defined in section ll l¢i(a) of the Banlo'uptcy Code), if any, in
accordance with the terms of any of the Debtors' retiree benefit plans or other agreements governing the payment of

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such benefits, subject to any rights to amend, modify or terminate such benefits under the terms of the applicable
retiree benefits plan, other agreement or applicable nonbankruptcy law.

6. Corporate Action Deemed as of the Effective Date; Duties and Powers of Newco

With respect to the Post~Effective Date Transactions; the adoption of the Newco Charter and Newco
Byiaws; the initiai selection of the Responsible Person; the distribution of Casli pursuant to the Plan; the adoption,
execution, delivery and implementation of all contracts, leases, instruments, releases and other agreements or
documents related to any of the foregoing; the Share Canceiiation and Reissuance; the Merger; and the other matters
provided for under the Plan involving the corporate structure of the Debtors and Newco or corporate action to be
taken by or required of a Debtor or Newco will be deemed to occur and be effective as of the Ei"fective Date, if no
such other date is specified in such other documents, and will be authorized and approved in all respects and for all
purposes without any requirement of further action by the stockholders or directors of the Debtors or Newco.

On and after the Effective Date, Newco, as successor to Old Boscov's, will be responsible for, and have the
authority to: resolve all Disputed Claims, make ali distributions to hoiders of Aliowed Claiins in accordance with the
terms of the Plan and otherwise implement the Pian and administer the Debtors’ Estates. Subject to and to the extent

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pursuant to or in furtherance hereof), Newco will be empowered to: (i) eii`ect all actions and execute all agreements
instruments and other documents necessary to implement the Pian; (ii) accept, preserve, receive, coliect, manage,
invest, supervise, prosecute, settle and protect the Distributable Cash in accordance with the Plan; (iii) sell, iiquidate,
transfer, distribute or otherwise dispose of any assets or any part thereof or any interest therein pursuant to the
procedures for allowing Claims and making distributions prescribed in the Plan; (iv) calculate and make
distributions to holders of Allowed Ciairns pursuant to the procedures for allowing Clairns and making distributions
as provided in the Plan; (v) comply with the Plan and exercise its rights in accordance with the Newco Charter and
Newco Byiaws; (vi) review, reconcile, settle or object to Clairns and resolve such objections as set forth in the Pian;
{vii) empioy professionals as necessary to discharge its duties and obligations; (viii) file appropriate 'Iax returns and
other reports on behalf of the Debtors and pay Taxes or other obligations owed by the Debtors; (ix) exercise such
other powers as may be vested in Newco or as deemed by such person to be necessary and proper to implement the
provisions of the Plan; (x) take such actions as are necessary or appropriate to close or dismiss any or all of the
Baniouptcy Cases; and (Xi) dissolve Newco.

C. Administration of Newco
I. Recourse Solely to Distributable Cash

All Claims against the Debtors will be deemed fully satisfied, waived and released in exchange for the
treatment of such Claims under the Plan, and holders of Ailowed Claiins against any Debtor will have recourse
solely to the applicable Distributable Cash t`or the payment of their Allowed Clainis in accordance with the terms of
the Plan.

2. Newco Expense Reserve Acconnt

On the Effective Date, i\lewco shall establish the Newco Expense Reserve Account to fund all Newco
Expenses in an aggregate amount to be agreed upon by the Debtors and the Committee. 'i`o the extent the funds
deposited in the Newco Expense Reserve Account are not sufficient to pay all Newco Expenses, the Responsible
Person, in consultation with the Oversight Cornrnittee, shall have the authority to transfer funds horn the Disputed
Unsecured Clairns Reserve Account to the Newco Expense Reserve Account to pay all such Newco Expenses.

3. Reports to be Filed by the Responsible Person

The Responsibie Person will Fiie with the Bankruptcy Court quarterly reports regarding the administration
of property vested in Newco pursuant to the Pian, distributions made, and other matters relating to the
implementation of the Pian. '

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4. Purchaser Note

On the Effective Date, the Purchaser Note will be fully assignable to Newco. Newco, as successor to Old
Boscov's, will receive and distribute in accordance with the Plan ali payments required to be made by BLP under the
Purchaser Note and will have the authority to enforce the terms of the l’urchaser l\lote in consultation with the
Oversight Cornrnittee. Newco will be obligated to pay out to holders of All.owed Clairns all proceeds received from
the Purchaser Note in excess of expenses

D. Efi'eet of Coniirrnation of the Plan
l. Saie and Settlement of Causes of Action by the Debtors

Pursuant to the Sale and Settlement Orders, respectively, the Debtors have resolved substantially all Causes
of Action belonging to the Estates. Notwithstanding the immediate preceding sentence, in accordance with section
1123(b) of the Banlo'uptcy Code, Newco will retain all Retained Causes of Action that the Debtors or the Estates
may hold against any entity, which were not resolved pursuant to the Sale Order, the Settiement Order or any other
order of the Bankruptcy Court, including, but not limited to, those Retained Causes of Action listed on Exhibit IV to
the Plan. In consultation with the Oversight Committee, Newco will have authority to prosecute or settle all such
Wetamed£aimespmction for the benefit of the Estates.

2. Comprehensive Settlernent of Claims and Controversies

Pursuant to Banln'uptcy Rule 90l9 and in consideration for the distributions and other benefits provided
under the Plan, the provisions of the Plan constitute a good faith compromise and settlement of all cla'nns or
controversies relating to the rights that a holder of a Clairn or Interest may have with respect to any Allowed Claim
or allowed Interest or any distribution to be made pursuant to the Plan on account of any Allowed Clairn or allowed
interest The entry of the Confnrnation Order will constitute the Banlo'uptcy Court‘s approval, as of the Effective
Date, of the compromise or settlement of all such claims or controversies and the Banl<ruptcy Court's finding that
such compromise or settlement is in the best interests of the Debtors, Newco, the Estates and their respective
property and Claini and Interest holders and is fair, equitable and reasonable

E. Special Provisions Regarding Insured Claims

Distributions under the Plan to each holder of an Allowed insured Clairn will be in accordance with the
treatment provided under the Plan for the Class in which such Allowed Insured Claini is classified, but solely to the
extent that such Allowed Insured Clairn is not satisfied from the proceeds payable to the holder thereof under any
pertinent insurance policies and applicable law. Nothing herein, erin Section IV.E of the Plan shall constitute a
waiver of any claims, obligations suits, judgrnents, dainages, demands, debts, rights, causes of action or liabilities
that any entity may hold against any other entity, including the Debtors' insurance carriers

F. Cancellation of Old Common Stock and Subsidiary Debtor Equity Interests

'i`he Old Cornmon Stock and Subsidiary Debtor Equity lnterests will be deemed cancelled and of no further
force and effect upon the Eft`ective Date. The holders of or parties to such canceled securities and other
documentation will have no rights arising from or relating to such securities and other documentation or the
cancellation thereof As ot` the close of business on the Distribution Record Date, the transfer registers for the Old
Conunon Stock and the Subsidiary Debtor Equity lnterests, respectively, will be closed Thereaiter, the only
outstanding equity of the Debtors shall be the shares of common stock that will be issued to the Responsible Person,
which will be cancelled and replaced with outstanding shares of Newco common stock upon the effectiveness of the
Merger.

G. Release of Liens

Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement or
document entered into or delivered in connection with the Plan, on the Eff`ective Date and consistent with the
treatment provided for Clairns and Interests in Article III, all mortgages deeds of trust, liens or other security

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interests against the property of any Estate will be fully released and discharged7 and all of the right, title and interest
of any holder of such mortgages, deeds of trust, liens or other security interests, including any rights to any
Collateral thereunder, will revert to Newco and its successors and assigns As of the Eff`ective Date, Newco will he
authorized but not required to execute and file on behalf of creditors Form UCC-3 Termination Staternents or such
other forms as may be necessary or appropriate to implement the provisions of Section lV.G of the Plau.

H. Efi'ectuating Documents; Further Transactions; Exemption from Certain '.E`ransfer Taxes

rl`he Responsible Person will be authorized to execute, deliver, tile or record such contracts, instruments,
releases and other agreements or documents and take such actions as may be necessary or appropriate to effectuate
and implement the provisions of the Plan. The Responsible Person will be authorized to certify or attest to any of
the foregoing actions Pursuant to section 1146(0) of the Bankruptcy Code, the following will not be subject to any
- stamp Tax, real estate transfer Tax, mortgage recording Tax, sales or use Tax or similar "l"ax: (l) the issuance,
transfer or exchange of Newco Comrnon Stoclc (2) any Post-Eft`ective Date Transaction; or (3) the making or
delivery of any deed or other instrument of transfer under, in hutherance of or in connection with the Pian, including
any merger agreements, agreements of consolidation, restructuring disposition, liquidation or dissolution, deeds,
bills of sale or assigrunents executed in connection with any of the foregoing or pursuant to the Plan.

VH. RISK FACTORS

Prior to voting on the Plan, each holder of a Claim entitled to vote should consider carefully the risk factors
described below, as well as all of the information contained in this Disclosure Staternent, including the Exhibits
hereto 'l`hese risk factors should not, however, be regarded as constituting the only risks involved in connection
with the Plan and its implementation

A. Risk of Non-Coni'irmation of the Plan

Even if all impaired Classes accept or could be deemed to have accepted the Plan, the Plan may not be
confirmed by the Banl<ruptcy Court. As set forth above, section 1129 of the Bankruptcy Code sets forth the
requirements for plan confirmation Although the Debtors believe that the Plan will meet all applicable tests, there
can be no assurance that the Bankruptcy'€ourt will reach the same conclusion

B. Nonconsensual Coufirmation

Pursuant to the "cramdown" provisions of section 1129 of the Banl<ruptcy Code, the Bankruptcy Court can
confirm the Plan at the Debtors' request if at least one impaired Class has accepted the Plan and, as to each impaired
Class that has not accepted the Plan, the Bankruptcy Court determines that the Plan "does not discriminate unfairly"
and is "i`air and equitable" with respect to such impaired Class.

"Ihe Debtors reserve the right to modify the terms of the Plan as necessary for confirmation without the
acceptance of all impaired Classes. Sucli modification could result in less favorable treatment for any non~accepting
Classes than the treatment currently provided for in the Plan.

C. Delays of Confirmation and/or Effective Date

Any delay in confirmation and effectiveness of the Plan could result in, among other things, increased
Administrative Clairns. These or any other negative effects of delays in continuation or ei¥ectiveness of the Plan
could endanger the ultimate approval of the Plan by the Bankruptcy Court.

I}. Allowance of Claims

The estimates of Allowed Clainis in this Disclosure Staternent are based on the Debtors' review of their
books and records Because the General Claim Bar Date and the Adrninistrative Clairn Bar Date has not yet passed,
the Debtors do not know for certain the magnitude and priority of the total Clairns filed. In addition, the Debtors
have not settled any Claims nor prosecuted any Claims objections Upon the passage of ali applicable claims bar
dates, the completion of further analyses of the proofs of Claim, the completion of Claims litigation and related
matters, the total amount ot` Claiins that ultimately become Allowed Claims in these Bankruptcy Cases may differ

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horn the Debtors' estimates, and such difference could be material With respect to Class 4 in particular, the actual
ultimate aggregate amount of Allowed General Unsecured Clairns in such Class may differ significantly from the
estimates set forth in this Disclosure Statement. Accordingly, the amount of Pro Rata distributions of Distributable
Cash that may be received by a particular holder of an Allowed General Unsecured Claim in Class 4 may be
adversely or favorably affected by the aggregate amount of Claims ultimately allowed in such Class.

E. Priority Treatment of Certain Vendor Claims

Pursuant to section 503(b)(9) of the Bankmptcy Code, sellers of goods to the Debtors within twenty days of
the Petition Date are entitled to an Administrative Ciaim for goods delivered to, but not paid for by, the Del)tors. As
noted above, pursuant to the BLF APA, BLF is obligated to pay 503(b)(9) Clairns asserted against the Debtors‘
Estates up to $10 million. To date, BLF has paid to the Debtors' Estates approximately $7.9 million in respect of
503('0)(9) Claims, the expected maximum allowed amount of such claims To the extent such Claims exceed the
$lt) million cap set forth in the BLF APA, the Debtors will become liable for paying any such excess 503(b)(9)
Claims. Additionally, to the extent 503(b)(9) Claims exceed $7.9 million and BLF is unable to satisfy its obligations
under the BLF APA to reimburse the Estates for such claims up to the $10 million cap, the Debtors will become
liable to pay such Clairns, In either circumstance, the amount of Distributable Cash available for holders of Allowed
General Unsecured Claims in Class 4 may be less than the Debtors' current estimates

 

F. Dependence Upon BLF

Atter the sale of the Debtors' assets to BLF, the Debtors were left with one employee, which situation is
expected to remain after the Effective Date of the Plan in the form of the Responsible Person. As such, the Estates
are dependent upon BLF personnel for, among other things, access to the Debtors' books and records in order to
assess and process claims and for other related matters, and for other transition services that the Debtors require of
BLF. The Debtors believe that the transition services agreement provisions of the BLF APA require BLF to provide
such access to books and records and transition services that the Debtors require to properly wind“down their
Estates. rl"he Dehtors are required to reimburse BLF only for the out-of-pocket costs associated with such services
However, to the extent that BLF becomes unable or refuses to adhere to the terms of the BLF APA with respect to
these matters, the Debtors' Estates will be negatively impacted and it is likely that the Debtors will incur additional,
unexpected costs and expenses to wind~down their Estates, which costs and expenses may be material

ln addition, BLF's ability and willingness to make payments under the Purchaser Note will affect
distributions to creditors under the Plan. Because of the contingent nature of the payments under the Purchaser
Note and the long time period prior to the Purchaser's obligation to make the last, non~contingent payment under
such note, the estimates for distributions to creditors in Class 4 under the Plan do not include any recovery on
account of the Purchaser Note.

G. Expected Tax Refunds

The Debtors are anticipating receipt of approximately $7.0 million in tax refunds during calendar year
2009. 'l`he Debtors have included the expected receipt of such refunds in their projected recoveries for holders of
claims in Class 4 under the Pian. Should such tax refunds not materialize or be significantly less than expected,
distributions to holders of claims in Class 4 will be adversely affected in a material manner.

H. Versa Breakup Fee Claim

Although the Debtors believe that Versa‘s claim for payment of a breakup fee in the Breakup Fee Motion is
without merit, should the Banltruptcy Court rule in Versa's favor, Versa's Claim against the Debtors would be an
Administrative Clairn, the payment of which could significantly reduce recoveries to holders of Aliowed General
Unsecured Claims in Class 4.

VI'H. DISTRIBUTIONS UNDER THE PLAN

A. Distributions for Claims Allowed as of tile Effectlve Date

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EXcept as otherwise provided in Article VI of the l’lan, distributions of Cash to be made on the Effective
Date to holders of Ciaims as provided by Article liI or Articie V of the Plan that are allowed as of the Effective Date
will be deemed made on the Effective Date if made on the Effective Date or as promptly thereafter as practicable,
but in any event no later than: (i) 60 days after the Effective Date; or (2) with respect to any particular Ciairn, such
later date as specified in the Plan. Distributions on account of Ciairns that become Allowed Claims after the
Eii:`ective Date shall be made pursuant to Section Vl.D.B.c of the Plan.

B. Method of Distributions to Holders of Clainzs

”i'he Responsible Person, on behalf of l\iewco, will make all distributions of Distributable Cash required
under the Plan. At the sole discretion of the Oversight Comrnittee, the Responsible Person may serve with bond or
similar financial instrument, and the Responsible Person, in consultation with the Oversight Conunittee, may
employ or contract with other entities to assist it making distributions required by the Plan.

C. Delivery of Distributions and Undeliverable or Iioclaimed Distrihutions
l. Delivery of Distributious

Distributions to holders of Ailowed Claiins will be made by the Responsible Person, on behalf ofNewco,
on each Distribution Date: (a) at the addresses set forth on the respective proofs of Clairn Filed by holders ot such
Clainis; (b) at the addresses set forth in any written certification of address change delivered to the Responsible
Person; (c) at the addresses reflected in the applicable Debtor's Schedules if no proof of Clairn has been Filed and
the Responsible Person has not received a written notice of a change of address; or (d) if clauses (a), (h) and (c) are
not applicable, at the last address directed by such holder after such Clairn becomes an Allowed Claim.

2. Undeliverable Distributions Held by Newco
a. Holding of Undeiiverable Distributions

Subject to Section VI.C.Z`c of the Pian, distributions returned to Newco or otherwise undeliverable shall
remain in the possession of Newco pursuant to Section VI.C.Z.a of the Pian until such time as a distribution becomes
deliverable Subject to Section VI.C.Z.c of the Plan, undeliverable Cash shall be held by Newco for the benefit of
the potential claimants of such Distributable Cash. Newco will invest such Cash in a manner consistent with the
Debtors' previous investment and deposit guidelines

b. After })istributions Become Deliverabie

On each Distribution Date, the Responsible Person, on behalf of Newco, will make all distributions that
become deliverable to holders of Allowed Claims since the preceding Distribution Date. Bach such distribution will
inciude, to the extent applicable, a Pro Rata share of the Cash Investrnent Yield from the investment of any
undeliverable Cash ii’om the date that such distribution would have first been due had it then been deliverable to the
date that such distribution becomes deliverable

c. Failure to Ciaim Undeliverable Distributions

Any holder of an Allowed Clairn that does not assert a claim pursuant to the Plan for an undeliverable
distribution to be made by Newco within one year after the later of (i) the Effective Date and (ii) the last date on
which a distribution was deliverable to such holder will have its claim for such undeliverable distribution discharged
and will be forever barred horn asserting any such claim against Newco or its property fn such cases, unclaimed
Distiibutable Cash will be distributed by Newco to all other known holders of Allowed Class 4 Clairns on a Pro Rata
basis Nothing contained in the Plan will require Newco to attempt to locate any holder of an Ailowed Clairn.

D. Timing and Calculatiou of Amounts to Be Distributed

1. Allowed Clairns

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Subject to Section VI,A of the Plan and the treatment of Ciairns described in Article III of the Pian, on or
after the Ei`fective Date, each hoider of an Ailowed Ciairn (other than holders of Ciairns in Class 4) will receive the
hill amount of the distributions that the Plan provides for Allowed Clairns. Subject to Section III.A of the Plan on
each Distribution Date, distributions also will be made to holders of Disputed Clairns that were aliowed since the
preceding Distribution Date. Such distributions also will be in the full amount that the Plan provides for Allowed
Claims.

2. Distributions to Holders of Allowed Clairns in Class 4
a. Distributions of Distributable Cash

Pursuant to the Plan and the priority scheme contained in the Bankiuptcy Code, the Res'ponsibie Person, on
each Distribution Date, will, on behalf of Newco, distribute to each holder of an Allowed Clairn in Class 4 its Pro
Rata share of the Distributable Cash.

b. Creation and Funding of Disputed Unsecured Claims Reserve Account

011 and after the Effective Date, after the creation and funding of the Newco Expense Reserve Account
pursuant to Sectiou IV.C.4 of the Plan, the Disputed Unsecured Ciaims Reserve Account wiii be funded by the
transfer of Disputed Unsecured Claims Reserve Casii horn Newco for the benefit of holders of Disputed Ciairns that
become Allowed Clai_ins in Ciass 4. For the purpose of calculating the amount of Disputed Unsecured Clairns
Reserve Cash to be contributed to the Disputed Unsecured Claims Reserve Account, all Disputed Clairns in Class 4
will be treated (solely for purposes of funding the Disputed Unsecured Clairns Reserve Account) as Allowed Clairns
in the Face Arnount of such Claiins or as otherwise agreed to by the holder of such Disputed Unsecured Clairn and
the applicable Debtor or Newco, or as determined by tin/ther order of the Bankruptcy Court. In addition, Disputed
Clairns rendered duplicative as a result of the consolidation of the Debtors pursuant to Section VIII.A will only be
counted once for purposes of funding the Disputed Unsecured Clairns Reserve Account. Newco will invest any
Cash held in the Disputed Unsecured Clairns Reserve Account in a manner consistent with the Debtors' prior
investment and deposit guidelines

c. Distributions of Disputed Unsecured Clairns Rese:'ve Cash

On each Distribution Date, a holder of an Allowed Claim in Ciass 4 that ceased being a Disputed Clairn
subsequent to the most recent prior Distribution Date will receive a Catch-Up Distribution. Subj ect to
Section VI.D.Z.c of the Plan, if, prior to a Distribution Date, a Disputed Claiin in Ciass 4 is Allowed in an amount
that is less than the Face Arnount of such Disputed Clairn, an amount of Disputed Unsecured Clairns Reserve Casb
equal to the difference between the amount of Cash distributable on the Aliowed and Face Amount of such Disputed
Clairn will be distributed Pro Rata to the holders of Allowed Ciaiins in Class 4 on the next Distribution Date.

d. Record Dates for Distributions; Postponernent of Distribution Dates

Newco may establish a record date prior to each Distrlbution Date such that oniy Clairns Allowed as ofthe
record date will participate in such distribution Notwithstanding the foregoing the Responsible Person, on behalf
ofNewco, reserves the right, to the extent it determines a distribution on any Distribution Date is uneconomical or
unfeasible, or is otherwise unadvisable, to postpone a Distribution Date.

3. De Minimis Distributions

Newco will not distribute Cash to the holder of an Allowed Clairn in an impaired Class if the amount of
Casli to be distributed on account of such Clairn is less than $25. Any holder of an Allowed Ciaiin on account of
which the amount of Casii to be distributed is less than $25 will have its claim for such distribution discharged and
witt be forever barred from asserting any such ciairn against Newco or its propertyl Any Cash not distributed
pursuant to Section Vl.D.3 of the Plan will be the property ofNewco, li'ee of any restrictions thereon

4. Compliance with Tax Requirements

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in connection with the Plan, to the extent applicable Newco will comply with ali Tax withholding and
reporting requirements imposed on it by any governmental unit, and all distributions pursuant to the Pian will be
subject to such withholding and reporting requirements Newco will be authorized to take any actions that may be
necessary or appropriate to comply with such withholding and reporting requirements

Notwithstanding any other provision of the Pian, each person or entity receiving a distribution of Cash or
other property pursuant to the Pian will have sole and exclusive responsibiiity for the payment of any 'i”ax
obligations imposed on it by any governmental unit on account of such distribution

E. }`.)istribution Record Date

1. Newco will have no obligation to, and shall not, recognize the transfer of, or the sale
of any participation in, any Allowed Clairn that occurs after the Distrii)ution Record
Date and will be entit§ed for ai! purposes herein to recognize and make distributions
only to those holders of Allowed Claixns that are holders of such Claims, or
participants therein, as of the Distribution Record Date.

2. Except as otherwise provided in a Fioai Order, the transferees of Ciaims that are
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wili be treated as the holders of such Clairns for all purposes, notwithstanding that
any period provided by Bankruptcy Rule 3001 for objecting to such transfer has not
expired by the i)istribution Record Date.

F. Means of Cash Payments

Except as otherwise specified in the Pian, Cash payments made pursuant to the Plan will be in U.S.
currency by checks drawn on a domestic bank selected by Newco or, at the option of Newco, by wire transfer from a
domestic bank; provided, however, that Cash payments to foreign holders of Ailowed Claims may be made, at the
option of Newco, in such funds and by such means as are necessary or customary in a particular foreign jurisdiction

G. Setoffs

Except with respect to (i) claims of a Debtor or Newco reieased pursuant to the Plan or any contract,
insuurnent, release or other agreement or document entered into or delivered in connection with the Pian; or (2) the
Chapter 5 Ciaims purchased by the Purchaser pursuant to section 2. l(b)(xiii) of the Sale Agreernent, Newco rnay,
pursuant to section 553 of the Bankruptcy Code or applicable nonbankruptcy law, setoff against any Aliowed Clairn
and the distributions to be made pursuant to the Pian on account of the Claini (before any distribution is made on
account of the Clairn) the claims, rights and Retained Causes of Action of any nature that the applicable Debtor or
Newco may hold against the holder of the Allowed Clairn; provided however, that neither the failure to effect a
setoff nor the allowance of any Ciaim under the Plan wiil constitute a waiver or reiease by the applicable Debtor or
Newco of any claims, rights and Causes of Action that the Debtor or Newco may possess against the Claim boider.

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IX. IN.IUNC'I`ION AND SUBORDINATION RIGHTS

The Plan will provide for the following injunctions:

A. Injunction

Except as provided in the I’lan or the Confirmatiou Order and other than with respect to a
right of recoupment or a setoff, as of the Effective Date, all entities that have held, currently
hold or may hold a Claim or other debt or liability subject to the Plan or an Interest or other
right of an equity security holder that is terminated pursuant to the terms of the Plan Will be
permanently en§oined from taking any of the following actions in respect of any such Claims,
debts, liabilities, Interests or rights: (a) commencing or continuing in any manner any
action or other proceeding against the Debtors or Newco, other than to enforce any right
pursuant to the P§an to a distribution from Newco; (b) enforcing, attaching, collecting or
recovering in any manner any judgment, award, decree or order against the Debtors or
Newco other than as permitted pursuant to (a) ahove; (c) creating, perfecting or enforcing
any Lien or encumbrance against the Debtors or their respective property; (d) asserting a
right of subrogation of any kind against any debt, liability or obligation due to the I)ebtors
and (e) commencing or continuing any action, in any manner, in any place that does not
comply with or is inconsistent with the provisions of the Plan.

B. Subordination Rights

"i.`he classification and manner of satisfying Claiins and Interests under the Plan does not take into
consideration subordination rights, and nothing in the Plan or Confumation Order will affect any subordination
rights that a holder of a Claim may have with respect to any distribution to be made pursuant to the Plan, whether
arising under general principles of equitable subordination, contract, section 510(c) of the Bankruptcy Code or
otherwise

C. Automatic Stay

]~Except as provided herein or otherwise determined by order of the Bankruptcy Court, the automatic stay
imposed by operation of section 362 of the Ban,kruptcy Code will remain in full force and effect until the earlier of
the time the Banloruptcy Cases are closed or dismissed

X. TREATMENT OF EXECUTORY CONTRACTS ANI) UNEXPIRED LEASES
A. Executory Contracts and Unexpired Leases to Be Rejected

On the Effective Date, except for tire Executory Contracts or Unexpired Leases listed on Exhil)it III to the
Pian, if any, and except to the extent that a Debtor either previously has assumed, assumed and assigned or rejected
an Executory Contract or Unexpired Lease by an order of the Bankruptcy Court or has filed a motion to assume or
assume and assign an Executory Contract or Unexpired Lease prior to the Et`fective Date, each Executory Contract
and Unexpired Lease entered into by a Debtor prior to the Petition Date that has not previously expired or
terminated pursuant to its own terms will be rejected pursuant to section 365 of the Bankruptcy Code. Each contract
and lease will be rejected only to the extent that any such contract or lease constitutes an Executory Contract or
llnexpired Lease. '[he Conlirmation Order will constitute an order of the Bankruptcy Court approving such
rejections, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date.

B. Bar Date for Rejection Claims

Notwithstanding anything in the Bar Date Order to the contrary, if the rejection of an Executory Contract or
Unexpired Lease pursuant to the Plan gives rise to a Claim by the other party or parties to such contract or lease,
such Rejection Claim will be forever barred and will not be enforceable against Newco unless a proof of Ciaim is
Filed and served on Newco, pursuant to the procedures specified in the Confirmation Order and the notice of the
Efl`ective Date or another order of the Bankruptcy Court, no later than 30 days alter the Effective Date.

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C. Executory Contracts and Unexpired Leases to Be Assumed
i. Assumption Generaliy

_ Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement or
document entered into in connection with the i’lan, on the Effective Date, pursuant to section 365 of the Bankruptcy
Code, Newco will assume each of the respective Executory Contracts and Unexpired Leases, ii` any, listed on
Exhibit ill to the Plan; provided however, that the Debtors reserve the right, at any time prior to the Er`fective Date,
to amend Exhibit lIi of the Plan to: (a) delete any Executory Contract or Unexpired Lease listed therein, thus
providing for its rejection pursuant to tire i’lan; or (b) add any Executory Contract or Unexpired Lease to Exhibit IH
of the Plan, thus providing for its assumption pursuant to Section V.C.l of the Plan. 'l`he Debtors will provide notice
of any amendments to Exhibit III of the Pian to the parties to the Executory Contracts or Unexpired Leases affected
thereby and to the parties on the then-applicable service list in the Banl<:ruptcy Cases. Notiiing in this Disclosure
Statement or the Plan shall constitute an admission by a Debtor that any contract or lease is an Executory Contract
or Unexpired Lease or that a Debtor has any liability thereunder

Each Executory Contract or Unexpired Lease assumed under Section V.C.l of the Plan shall include any
modifications amendments supplements or restatements to such contract or lease.

 

2. Assignnients Related to Post-Effective Date Transactlons

As of the Efiective Date, any Executory Contract or Unexpired Lease assumed under Section V.C.l of the
Plan will be deemed assigned to Newco, pursuant to section 365 of the Bankruptcy Code.

3. Approvai of Assurnptions and Assumption Proccdures

The Coniirrnation Order wiil constitute an order of the Bankruptcy Court approving the assumptions
described in Section V.C.I of the Plan, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date.
The procedures for assumption of an Executory Contract or Unexpired Lease are as follows:

o Aiter the entry of the Confirination Order, the Debtors will serve upon each
party to an Executory Contract or Unexpired Lease being assumed pursuant to
the Plan notice oi`: (i) the contract or lease being assumed or assumed and
assigned; (ii) the Cure Arnount Claim, if any, that the applicable Debtor believes
it would be obligated to pay in connection with such assurnption; and (iii) the
procedures for such party to object to the assumption or assumption and
assignment oftlie applicable contract or lease or the amount of the proposed
Cure Arnount Claim.

v Any entity wishing to object to (i) the proposed assumption of an Executory
Contract or Unexpired Lease under the Plan or (ii) the proposed amount of the
related Cure Amount Clairn must tile and serve on counsel to Newco a written
objection setting forth the basis for the objection within 20 days of service of the
notice.

v Ii` no objection to the proposed assumption or Cure Arnount Claim is properly
lilcd and served prior to the objection deadline with respect to an Executory
Contract or Unexpired Lease: (i) the proposed assumption of the Executory
Contract or Unexpired Lease will be approved in accordance with the Plan and
the Coniirrnation Order, eii`ective as of the EFfective Date, without further action
of the Bankruptcy Court; and (ii) the Cure Amount Clairn identified by the
Debtors in the notice will be fixed and shall be paid in accordance with the Plan
on or after the Effective Date, without further action of the Banl<ruptcy Court, to
the appropriate contract or iease party identified on the notice

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v If an objection to the proposed assumption or Cure Arnount Ciairn is properly
filed and served prior to the objection deadline with respect to an Executory
Contract or Unexpired Lease, Newco and the objecting party may resolve such
objection by stipulation, without further action of the Bankruptcy Court.

¢ If an objection to the proposed assumption or Cure Arnount Clairn is properly
filed and served prior to the objection deadline with respect to an Executory
Contract or Unexpired Lease and the parties are unable to resolve such
objection: (i) Newco may tile a reply to such objection no later than 30 days
after the filing and service of such objection and ask the Bankruptcy Court to
schedule a hearing on the particular objection and the related reply at an
appropriate tirne; or (ii) Newco may designate the Executory Contract or
Unexpired Lease underlying such objection for rejection pursuant to Section
V.A of the Plan and amend Exhibit lli of the Plan accordinglyl

I). Payments Related to the Assumption of Executory Contracts and Unexpired Leases

'l`o the extent that such Clairns constitute monetary defaults, the Cure Amount Claims associated with each
maclaudUmxpnedLeasemheassnmedpnmuammthe£lannddhenanshed,pinsumt to section

365(b)(l) of the Bankruptcy Code: (i) by payment of the Cure Arnount Clairn in Cash on or after the Effective
Date; or {2) on such other terms as are agreed to by the parties to such Executory Contract or Unexpired Lease.
Pursuant to section 365(b)(2)(l)) ofthe Bankruptcy Code, no Cure Arnount Ciairn will be allowed for a penalty rate
or other form of default rate of interest If there is an unresolved dispute regarding (l) the amount of any Cure
Arnount Ciairn; (2) the ability ofNewco or any assignee to provide "adequate assurance of future performance"
(within the meaning of section 365 of the Bankruptcy Code) under the contractor lease to be assurned; or (3) any
other matter pertaining to assumption of such contractor lease, the payment of any Cure Arnount Clairn required by
section 365(b)(1) of the Bankruptcy Code Will be made following the entry of a Final Order resolving the dispute
and approving the assumption

XI. CERTAIN FEDERAL lNCOME 'I‘AX CONSEQUENCES OF CONSUMMATION OF THE PLAN
A. Generai

A description of the United States federal income tax consequences of the Pian is provided below. This
description is based on the internal Revenue Code, ”£`reasury chulations issued thereunder, judicial decisions and
administrative determinations all as in effect on the date of this Disclosure Staternent and all subject to change,
possibly with retroactive effect Changes in any of these authorities or in their interpretation could cause the United
States federal income tax consequences of the Plan to differ materially from the consequences described below_

To ensure compliance with U.S. Treasury Departrnent Circular 230, holders of Claims are hereby notified
that (a) the discussion of United States federal tax issues in this Disclosure Staternent is not intended or written to be
relied upon, and cannot be relied upon by holders, for the purpose of avoiding penalties that may be imposed on
them under the Internal Revenue Code; (b) such discussion is written in connection with the solicitation of votes in
favor of the Plan; and (c) holders should seek advice based on their particular circumstances iioni their own
independent tax advisors

The United States federal income tax consequences of the Plan are complex and in important respects
uncertain No ruling has been requested from the lnternal Revenue Service; no opinion has been requested horn
Del)tors‘ counsel concerning any tax consequence of the Plan; and no tax opinion is given by this Disclosure
Statcment.

’Ihe description that follows does not cover all aspects oi"United States federal income taxation that may be
relevant to the Debtors or holders of Claims. For example, the description does not address issues of special concern
to certain types of taxpayers, such as dealers in securities, life insurance companies, iinancial institutions, tax
exempt organizations and non-U.S. taxpayers, nor does it address tax consequences to holders of interests in the
Debtorsr In addition, the description does not discuss state, local or non-U.S. tax consequences

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For these reasons, the description that follows is not a substitute for careful tax planning and professional
tax advice based upon the individual circumstances of each holder of a Clairn or lnterest. Holders of Clairns or
interests are urged to consult with their own tax advisors regarding the federal, state, local and non-U.S. tax
consequences cf the Plan.

B. United States Federal Income Tax Consequences of Payrnent of Allowed Claims

The United States federal income tax consequences of Plan implementation to the holders of Allowed
Clairns will depend on, among other things, the consideration to be received by the holder, whether the holder
reports income on the accrual or cash method, whether the holder receives distributions under the Pian in rnore than
one taxable year, whether the holder's Ciairn is allowed or disputed on the Efl`ective Date, and whether the holder
has taken a bad debt deduction or worthless security deduction with respect to its Clairn.

C. Recognition of Gain or Loss
1. In General

ln general, a holder of a Allowed Clairn should recognize gain or loss equal to the amount realized under
the Plan in respect of its Clairn less the holder‘s basis in the Clain;i. Any gain or loss recognized may be long-term or

 

short-term capital gain or loss or ordinary income or loss, depending upon the nature ot the Clarrn and the holder,
the length of time the holder held the Clairn and whether the Clairn was acquired at a market discount If the holder
realizes a capital loss, its deduction of the loss may be subject to limitation The holder's amount realized in respect
of a Clainl generally will equal the sum of the Cash and the fair market value of any other property received (or
deemed received) by the holder under the Plan on the Effective Date and on subsequent distribution dates, less the
amount (if any) treated as interest, as discussed below.

2. Post~Effective Date Cash Distributions

Because certain holders of Allowed Clairns, including Disputed Clainis that ultimately becorne Allowed
Clainis, may receive Cash distributions subsequent to the Eff`ective Date of the Pian, the imputed interest provisions
of the Internal Revenue Code may apply to treat a portion of the subsequent distributions as interest, which is
generally taxed as ordinary income Additionally, because holders may receive distributions with respect to an
Allowed Clairn in a taxable year or years following the year of the initial distributiong any loss and a portion of any
gain realized by the holder may be deferred All holders of Ailowed Clairns are urged to consult their tax advisors
regarding the possible application of (or ability to elect out ol) the " installment method" of reporting with respect to
their Clairns.

3. Bad Debt or Worthless Securities Deduction

A holder that, under the Pian, receives in respect of an Allowed Clairn an amount less than the holder's tax
basis in the Claini may be entitled in the year of receipt (or in an earlier or later year) to a bad debt deduction in
some amount under § 166(a) of the Internal Revenue Code or a worthless securities deduction under § lGS(g) of the
lnternal Revenue Code. The rules governing the character, timing and amount of bad debt and worthless securities
deductions place considerable emphasis on the facts and circumstances of the holder, the obligor and the instrument
with respect to which a deduction is claimed Hoiders of Clairns, therefore, are urged to consult their tax advisors
with respect to their ability to take such a deduction

D. Certain Other Tax Consequences for Holders of Claims
1. Receipt of Pre~Effective Date Interest

A holder of an Aliowed Clairn Will recognize ordinary income to the extent the holder receives Cash or
other property that is allocable to accrued but unpaid interest that the holder has not previously included in its
taxable income If an Allowed Ciaim includes interest, and if the holder receives less than the amount of the Claini
pursuant to the Plan, the holder will be required to allocate the i"'lan consideration between principal and interest
with respect to the Claim. 'l`he proper allocation of plan consideration between principal and interest is unclear, and

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holders of Allowed Clairns should consult their own tax advisors in this regard lf the Pian consideration allocated
to interest with respect to an Allowed Claiin is less than the amount that the holder has previously included as
interest income, the previously~included but unpaid interest may be deducted, generally as a loss.

2. lnstallment Method

A holder of an Allowed Claim constituting an installment obligation for 'l`ax purposes may be required to
recognize currently any gain remaining with respect to the obligation it`, pursuant to the Plan, the obligation is
considered to be satisfied at other than its face value, distributed, transmitted sold or otherwise disposed of within
the meaning of § 453B of the internal Revenue Code.

3. Inforrnation Reporting and Withholding

Under the lnternal Revenue Code's backup withholding rules, the holder of an Allowed Ciaim may be
subject to backup withholding with respect to distributions made pursuant to the Pian unless the holder comes within
certain exempt categories (which generally include corporations) and, when required, demonstrates that fact, or
provides a correct taxpayer identification number and certifies under penalty of perjury that the taxpayer
identification number is correct and that the holder is not subject to backup withholding because of a failure to report
all dividend and interest income Backup withholding is not an additional tax, but merely an advance payment that

 

may be refunded to the extent lt results in an overpayment ot tax. Holders or Allowed claims may be required to
establish exemption from backup withholding or to make arrangements with respect to the payment of backup
withholding

E. Tax Consequences of Consurnrnation of Plan to Del')tors and Newco

'i`he Debtors expect to recognize substantial cancellation of indebtedness income on consummation of the
Plan but the income will not be taxable to the chtors. ’l`he Debtors will retain their net operating losses and other
tax attributes until the Debtors are liquidated or the tax attributes are eliminated as a result of the excluded
cancellation of indebtedness income

Any payments that Newco receives under the Purclraser Note will be treated in part as taxable interest
income pursuant to the Internal Revenue Code‘s imputed interest rules. Newco will also be taxed on any income
generated by Cash or other assets in the Disputed Clairns Reserve. Newco will be entitled to deduct interest expense
to the extent that distributions are treated in part as interest

XII. ADDITIONAL INFORMATION

Any statements in this Disclosure Staternent concerning the provisions of any document are not necessarily
complete, and in each instance reference is made to such document for the full text thereof Certain documents
described or referred to in this Disclosure Statement have not been attached as exhibits because of the
impracticability of furnishing copies of these documents to all recipients of this Disclosure Stateinent. The Debtors
will life all exhibits to the Plan with the Banl<ruptcy Court and make them available for review on the I)ocinnent
Website (www.kccllc.net/boscov) no later than ten days before the Voting Deadline.

XI`H. RECOMMENDATION AND CONCLUSION

For all of the reasons set forth in this Disclosure Statement, the Debtors believe that the Contirination and
consummation of the Plan is preferable to all other alternatives Consequently, the Debtors urge all holders of
Clairns in Classes 3 and 4 to vote to accept the Plan and to evidence their acceptance by duly completing and
returning their Ballots so that they will be received on or before the Voting Deadline

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Dated: March 16, 2009 Respectfully submitted,

BSCV, INC., on its own behalf and on behalf of ach
affiliate Debtor

By: ‘
Name: Micha€l J. Hughes \`
Title: Chief Executive 0£1":

 

 

 

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